USCA Case #24-1120    Document #2059515        Filed: 06/12/2024   Page 1 of 56



              ORAL ARGUMENT NOT YET SCHEDULED
                     No. 24-1120 and consolidated cases

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                  ______________________________

                     STATE OF WEST VIRGINIA, et al.,
                                                  Petitioners,
                                     v.
   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                              Respondents.
                     ______________________________

     PETITION FOR REVIEW OF A FINAL AGENCY ACTION OF THE
      UNITED STATES ENVIRONMENTAL PROTECTION AGENCY

   BRIEF OF THE ENVIRONMENTAL DEFENSE FUND AS AMICUS
         CURIAE IN OPPOSITION TO MOTIONS TO STAY

 Noha Haggag                        Sean H. Donahue
 Richard Yates                      Megan M. Herzog
 Vickie L. Patton                   Donahue, Goldberg & Herzog
 Environmental Defense Fund         1008 Pennsylvania Ave., SE
 257 Park Avenue South              Washington, D.C. 20003
 New York, NY 10010                 (202) 277-7085 (Donahue)
 (202) 572-3286                     sean@donahuegoldberg.com
 nhaggag@edf.org                    megan@donahuegoldberg.com
 ryates@edf.org
 vpatton@edf.org                    Counsel for Environmental Defense Fund
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024   Page 2 of 56



  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

In accordance with D.C. Circuit Rule 28(a)(1), amicus curiae states as follows:

   A. Parties, Intervenors, and Amici Curiae

These cases involve the following parties:

      Petitioners:

   • No. 24-1120: States of West Virginia, Indiana, Alabama, Alaska, Arkansas,

      Florida, Georgia, Idaho, Iowa, Louisiana, Mississippi, Missouri, Montana,

      Nebraska, New Hampshire, North Dakota, Oklahoma, South Carolina, South

      Dakota, Tennessee, Texas, Utah, and Wyoming; Commonwealths of

      Kentucky and Virginia.

   • No. 24-1121: States of Ohio and Kansas.

   • No. 24-1122: National Rural Electric Cooperative Association.

   • No. 24-1124: National Mining Association; America’s Power.

   • No. 24-1126: Oklahoma Gas and Electric Company.

   • No. 24-1128: Electric Generators for a Sensible Transition.

   • No. 24-1142: United Mine Workers of America, AFL-CIO.

   • No. 24-1143: International Brotherhood of Electrical Workers,

      AFL-CIO.

   • No. 24-1144: International Brotherhood of Boilermakers, Iron

      Ship Builders, Blacksmiths, Forgers and Helpers, AFL-CIO.


                                         i
USCA Case #24-1120      Document #2059515        Filed: 06/12/2024   Page 3 of 56



  • No. 24-1146: Midwest Ozone Group.

  • No. 24-1152: Edison Electric Institute.

  • No. 24-1153: NACCO Natural Resources Corporation.

  • No. 24-1155: Idaho Power Company.

     Respondents: The respondents in cases 24-1120, 24-1121, 24-1122, 24-

     1124, 24-1126, 24-1146, 24-1153, 24-1155 are the U.S. Environmental

     Protection Agency and Michael S. Regan, Administrator, United States

     Environmental Protection Agency. Respondent in cases 24-1128, 24-1142,

     24-1143, 24-1144, 24-1152 is the U.S. Environmental Protection Agency.

     Intervenors: American Lung Association; Clean Air Council; American

     Public Health Association; Clean Wisconsin; Natural Resources Defense

     Council; States of New York, Arizona, Colorado, Connecticut, Delaware,

     Hawaii, Illinois, Maine, Maryland, Michigan, Minnesota, New Jersey, New

     Mexico, North Carolina, Oregon, Rhode Island, Vermont, Washington, and

     Wisconsin; Commonwealths of Massachusetts and Pennsylvania; Cities of

     Boulder, Chicago, and New York; City and County of Denver; the

     District of Columbia; California Air Resources Board; and Edison Electric

     Institute are intervenors for respondents. Tennessee Valley Power

     Association and Louisiana Public Service Commission are movant-

     intervenors for petitioners.


                                       ii
USCA Case #24-1120       Document #2059515        Filed: 06/12/2024   Page 4 of 56



      Amici: Chamber of Commerce of the United States of America is a movant-

      Amicus Curiae in support of Petitioners and Environmental Defense Fund,

      Sierra Club, and Professor Rachel Rothschild are movants-Amicus Curiae in

      support of respondents.

   B. Rulings Under Review

      These consolidated cases involve final agency action of the United States

Environmental Protection Agency titled “New Source Performance Standards for

Greenhouse Gas Emissions From New, Modified, and Reconstructed Fossil Fuel-

Fired Electric Generating Units; Emission Guidelines for Greenhouse Gas

Emissions From Existing Fossil Fuel-Fired Electric Generating Units; and Repeal

of the Affordable Clean Energy Rule,” published at 89 Fed. Reg. 39,798 (May 9,

2024).

      C. Related Cases

      Thirteen consolidated cases (Case Nos. 24-1120, 24-1121, 24-1122, 24-

1124, 24-1126, 24-1128, 24-1142, 24-1143, 24-1144, 24-1146, 24-1152, 24-1153,

24-1155) seek review of the agency action challenged here. Amicus curiae is

unaware of any other related cases.




                                        iii
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024   Page 5 of 56



     CIRCUIT RULE 26.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Amicus Curiae Environmental Defense Fund states that it is a non-profit

environmental and public health organization. Environmental Defense Fund has

no parent corporation nor any publicly held corporation that owns 10% or more of

its stock.



Dated: June 11, 2024                         /s/ Sean H Donahue
                                             Sean H. Donahue




                                        iv
USCA Case #24-1120       Document #2059515           Filed: 06/12/2024   Page 6 of 56



                             RULE 29 STATEMENTS
      Amicus Curiae certifies that no party in these consolidated proceedings

opposes the filing of this amicus brief.

      Pursuant to Fed. R. App. P. 29(a)(4), Amicus states that no party or party’s

counsel authored this brief in whole or in part, and that no other person besides

Amicus or its counsel contributed money that was intended to fund preparing or

submitting the brief.

      Pursuant to D.C. Cir. R. 29(d), Amicus states that a separate brief is

necessary in order to reflect the distinct perspective of Amicus on the multiple stay

motions that have been filed, and in light of the compressed time frame for

responding to such motions.


                                               /s/ Sean H. Donahue
                                               Sean H. Donahue




                                           v
USCA Case #24-1120                 Document #2059515                      Filed: 06/12/2024            Page 7 of 56



                                        TABLE OF CONTENTS


TABLE OF AUTHORITIES .................................................................................. vii
GLOSSARY...............................................................................................................x
INTEREST OF AMICUS CURIAE............................................................................1
INTRODUCTION AND SUMMARY OF ARGUMENT ........................................1
ARGUMENT .............................................................................................................3
  I.        STAY MOVANTS PERVERSELY SEEK TO TURN PAST INACTION
            ON CARBON EMISSIONS INTO AN EXCUSE FOR CONTINUED
            INACTION, CONTRAVENING SECTION 111. .......................................3
  II.       SECTION 111 IS DESIGNED TO ENCOURAGE IMPLEMENTATION
            OF POLLUTION-CONTROL TECHNOLOGY AND DOES NOT
            REQUIRE THAT TECHNOLOGY ALREADY BE WIDELY
            DEPLOYED .................................................................................................6
  III.      MOVANTS IGNORE RECENT ACTS OF CONGRESS THAT
            DIRECTLY SUPPORT THE RULES .........................................................8
CONCLUSION ........................................................................................................12




                                                          vi
USCA Case #24-1120                 Document #2059515                       Filed: 06/12/2024            Page 8 of 56



                                      TABLE OF AUTHORITIES

                                                                                                                  Page

Cases

Am. Lung Ass’n v. EPA, 985 F.3d 914 (D.C. Cir. 2021) ...........................................4

Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402 (1971) ...........................1

*Essex Chemical Corp. v. Ruckelshaus, 486 F.2d 427 (D.C. Cir. 1973) ......... 1, 2, 7

*Lignite Energy Council v. EPA, 198 F.3d 930 (D.C. Cir. 1999). ........................2, 7

Portland Cement Ass’n v. Ruckelshaus, 486 F.2d 375 (D.C. Cir. 1973)...................6

Sierra Club v. Costle, 657 F.2d 298 (D.C. Cir. 1981) ...........................................6, 7

West Virginia v. EPA, 577 U.S. 1126 (2016) ............................................................4

*West Virginia v. EPA, 597 U.S. 697 (2022) ................................................. 1, 4, 12

Statutes

42 U.S.C. § 7411 ........................................................................................................1

42 U.S.C. § 7411(a)(1) ...........................................................................................4, 9

42 U.S.C. § 7411(b) ...................................................................................................4

42 U.S.C. § 7411(d) ...................................................................................................4

42 U.S.C. § 7435 ......................................................................................................10

42 U.S.C. § 7435(a)(5) ...................................................................................... 11, 12
_____________________

* Authorities chiefly relied upon are marked with an asterisk.




                                                           vii
USCA Case #24-1120                  Document #2059515                       Filed: 06/12/2024             Page 9 of 56



42 U.S.C. § 7435(a)(6) .................................................................................. 9, 11, 12

Pub. L. No. 117-169, 136 Stat. 1924 (2022)..............................................................9

Pub. L. No. 117-58, 135 Stat. 986 (2021)..................................................................9

Rules

84 Fed. Reg. 32,520 (July 8, 2019) ............................................................................4

89 Fed. Reg. 39,798 (May 9, 2024) ............................................ 1, 3, 4, 5, 6, 8, 9, 10

Legislative History

168 Cong. Rec. E868 (2022)............................................................................. 10, 11

S. Rep. No. 91-1196 (1970) .......................................................................................6

S. Rep. No. 95-127 (1977) .........................................................................................6

Other Authorities

Am. Pub. Power Ass’n, APPA Applauds House Passage of the Inflation Reduction
 Act (Aug. 12, 2022), https://www.publicpower.org/publication/appa-applauds-
 house-passage-inflation-reduction-act .................................................................10

Dena Adler & Andrew Stawasz, Inst. for Policy Integrity, Defining “Adequately
  Demonstrated:” EPA’s Long History of Forward-Looking Regulations under
  Section 111 of the Clean Air Act (2024),
  https://policyintegrity.org/files/publications/EPA%E2%80%99s_Long_History_
  of_ForwardLooking_Standards_Under_Section_111_of_the_Clean_Air_Act_Po
  licy_Brief.pdf .........................................................................................................7

Donald Shattuck, et al., A History of Flue Gas Desulfurization (FGD)—The Early
  Years, UE Technical Paper (2007) ........................................................................ 7

Duke Energy, Federal Infrastructure Funding, https://www.duke-
  energy.com/partner-with-us/infrastructure-investment-jobs-act (last visited June
  10, 2024) ..............................................................................................................10



                                                           viii
USCA Case #24-1120                  Document #2059515                         Filed: 06/12/2024              Page 10 of 56



EEI, Statement on the Inflation Reduction Act Being Signed Into Law (Aug. 15,
  2022), https://www.eei.org/en/news/news/all/eei-statement-on-the-inflation-
  reduction-act-being-signed-into-law ................................................................9, 10

EPA, Press Release, EPA Says Scrubbers Necessary for Health Protection Under
  Coal Conversion Plan (July 14, 1977),
  https://www.epa.gov/archive/epa/aboutepa/epa-says-scrubbers-necessary-health-
  protection-under-coal-conversion-plan.html .........................................................7

EPA, Sources of Greenhouse Gas Emissions (2024),
  https://www.epa.gov/ghgemissions/sources-greenhouse-gas-emissions ..............3

Intergovernmental Panel on Climate Change, Summary for Policymakers, in
   CLIMATE CHANGE 2023: SYNTHESIS REPORT 17 (2023),
   https://www.ipcc.ch/report/ar6/syr/downloads/report/IPCC_AR6_SYR_SPM
   .pdf.........................................................................................................................3

Greg Dotson & Dustin J. Maghamfar, The Clean Air Act Amendments of 2022:
  Clean Air, Climate Change, and the Inflation Reduction Act, 53 Envtl. L. Rep.
  10017 (2023) ........................................................................................................11

Larry Parker et al., Climate Change: Potential Regulation of Stationary
  Greenhouse Gas Sources Under the Clean Air Act (Congressional Research
  Service 2009) .........................................................................................................7

Margaret Taylor et al., Regulation as the Mother of Innovation: The Case of SO2
 Control, 27 L. & Pol’y 349 (2005) ........................................................................8

National Center for Environmental Information, Billion-Dollar Weather and
Climate Disasters: Overview, https://www.ncei.noaa.gov/access/billions/..............4

U.S. Energy Information Admin., Coal and the Environment (2024),
  https://www.eia.gov/energyexplained/coal/coal-and-the-environment.php ..........3




                                                               ix
USCA Case #24-1120    Document #2059515         Filed: 06/12/2024   Page 11 of 56



                                GLOSSARY

 CCS                     Carbon Capture and Sequestration

 EDF                     Environmental Defense Fund

 EEI                     Edison Electric Institute

 EGST                    Electric Generators for a Sensible Transition

 EPA                     U.S. Environmental Protection Agency

 Infrastructure Act      Infrastructure Investment and Jobs Act of 2021

 NMA et al.              National Mining Association and America’s Power

 Rules                   New Source Performance Standards for Greenhouse
                         Gas Emissions from New, Modified, and
                         Reconstructed Fossil Fuel-Fired Electric Generating
                         Units; Emission Guidelines for Greenhouse Gas
                         Emissions from Existing Fossil Fuel-Fired Electric
                         Generating Units; and Repeal of the Affordable Clean
                         Energy Rule, 89 Fed. Reg. 39,798 (May 9, 2024)




                                      x
USCA Case #24-1120      Document #2059515           Filed: 06/12/2024    Page 12 of 56



                       INTEREST OF AMICUS CURIAE

      Amicus Environmental Defense Fund (“EDF”) is a nonprofit nonpartisan

public interest organization, guided by science and law, and dedicated to reducing

climate pollution and strengthening the ability of people and nature to thrive while

addressing the climate change impacts people experience now.

            INTRODUCTION AND SUMMARY OF ARGUMENT

      In West Virginia v. EPA, the Supreme Court concluded that Section 111 of

the Clean Air Act, 42 U.S.C. § 7411, is generally “limited to ensuring the efficient

pollution performance of each individual regulated source,” 597 U.S. 697, 726-28

(2022). The Rules challenged here fall squarely within that scope; they rely on

technologies (carbon capture and sequestration (“CCS”) and co-firing) that reduce

emissions from individual sources. As EPA explained, CCS “is a traditional, add-

on control intended to reduce the emissions performance of individual sources.”

89 Fed. Reg. 39,798, 39,901 (May 9, 2024). Indeed, CCS is akin to “scrubber”

technologies that have, since the inception, served as the “best system of emission

reduction” under Section 111. See Essex Chemical Corp. v. Ruckelshaus, 486 F.2d

427, 439-41 (D.C. Cir. 1973). Here, as there, EPA’s application of the statutory

factors to the evidence in the record reveals no “clear error of judgment.” Id. at

440 (citing Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 416 (1971).

Movants urge the Court to second-guess EPA’s determinations about technical



                                          1
USCA Case #24-1120     Document #2059515          Filed: 06/12/2024    Page 13 of 56



feasibility, efficacy, cost, and timing—matters squarely within EPA’s technical

expertise. See id.; Lignite Energy Council v. EPA, 198 F.3d 930, 933 (D.C. Cir.

1999).

      The stay motions do not meet the standards for extraordinary relief.

Movants should not be allowed to leverage their own inaction on carbon pollution

as a basis to further delay regulatory action. Such arguments defy Section 111,

which Congress designed to propel implementation of pollution controls even

when (unlike the established CCS techniques here) the relevant technologies are

nascent. Furthermore, the stay motions ignore recent acts of Congress that directly

support EPA’s Rules, including large federal investments in CCS in the 2021

Infrastructure Investment and Jobs Act (“Infrastructure Act”) and the 2022

Inflation Reduction Act, and a new Clean Air Act section directly addressing

regulation of power-sector greenhouse-gas emissions.




                                         2
USCA Case #24-1120       Document #2059515           Filed: 06/12/2024    Page 14 of 56



                                   ARGUMENT

      I.   STAY MOVANTS PERVERSELY SEEK TO TURN PAST
           INACTION ON CARBON EMISSIONS INTO AN EXCUSE FOR
           CONTINUED INACTION, CONTRAVENING SECTION 111.

       For decades, fossil-fired power plants have emitted more dangerous climate-

warming pollution than any other stationary sources. 1 Coal-fired plants,

specifically, are the country’s largest industrial sources of carbon pollution,

responsible for more than half of all power-sector emissions in 2022.2 New gas-

fired plants, if uncontrolled, will emit millions of tons of greenhouse-gas pollution

over their lifetimes.

       Uncontrolled power-plant climate pollution has a massive cost. Once

emitted, carbon dioxide remains in the atmosphere for centuries, compounding

health, safety, and environmental harms. 3 Americans are today suffering from

extreme storms and floods, rising temperatures, wildfires and wildfire smoke,

unhealthy air quality, illness, threats to food and water supplies, unstable insurance




  1
    See 89 Fed. Reg. at 39,799 (citing EPA, Sources of Greenhouse Gas Emissions
(2024), https://www.epa.gov/ghgemissions/sources-greenhouse-gas-emissions).
  2
    See U.S. Energy Information Admin., Coal and the Environment (2024),
https://www.eia.gov/energyexplained/coal/coal-and-the-environment.php.
  3
    See Intergovernmental Panel on Climate Change, Summary for Policymakers,
in CLIMATE CHANGE 2023: SYNTHESIS REPORT 17 (2023),
https://www.ipcc.ch/report/ar6/syr/downloads/report/IPCC_AR6_SYR_SPM.pdf
(“Risks are increasing with every increment of warming”).

                                           3
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024   Page 15 of 56



markets, and lost homes due to the accumulated stocks of greenhouse gases. 4 Each

additional ton of carbon dioxide emitted into the atmosphere contributes to the

mounting climate crisis.

      Meanwhile, the public has waited too long for critical Clean Air Act

protections. Although EPA has long been under a statutory obligation to control

harmful climate pollution, see 42 U.S.C. § 7411(b), (d); West Virginia, 597 U.S. at

710, litigation and administrative delays have forestalled implementation of the

limits Congress mandated. See, e.g., West Virginia v. EPA, 577 U.S. 1126 (2016)

(staying Clean Power Plan); 84 Fed. Reg. 32,520 (July 8, 2019) (repealing and

replacing Clean Power Plan); Am. Lung Ass’n v. EPA, 985 F.3d 914 (D.C. Cir.

2021) (vacating replacement rule), rev’d by West Virginia, 597 U.S. at 700.

Industry has profited from these delays while the public has paid the price—in

significant climate-change harms and technological progress that federal standards

would have prompted.

      Yet Movants seek more delay. Their central theme is that CCS is not

“adequately demonstrated.” See 42 U.S.C. § 7411(a)(1). But they deal only

selectively with EPA’s substantial record, ignoring the robust evidence supporting



  4
    See 89 Fed. Reg. at 39,799 n.2; National Center for Environmental
Information, Billion-Dollar Weather and Climate Disasters: Overview,
https://www.ncei.noaa.gov/access/billions/ (enumerating sharply increasing large
weather and climate disasters).

                                         4
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024    Page 16 of 56



EPA’s determinations. Worse, Movants seek to exploit the fact that owners of

fossil-fired plants have largely managed to avoid greenhouse-gas regulation as a

basis for further delay—insisting that, even though all technological components

are available (see 89 Fed. Reg. at 39,845-47), industry’s failure to adopt CCS

broadly forecloses EPA from deciding that it meets the statutory criteria.5

      As Respondents show, that position is contrary to the statute and to

precedent. And the main reason carbon controls at power plants are limited is

simple: throughout much of the nation, there has never been an enforceable

standard to control those emissions to a meaningful degree. Absent any such

requirement, plants have not invested in carbon controls and instead have

externalized the costs of their pollution onto the public. The absence of

widespread adoption proves nothing about whether CCS is “adequately

demonstrated.” The Court should reject Movants’ self-justifying regulatory

immunity.




5
  See, e.g., ECF#2056359 at 11 (NMA, et al.) (“CCS … has never been achieved at
the level mandated by the Final Rule, and so is not adequately demonstrated.”);
ECF#2056352 at 9 (EEI) (“EPA fails to show that any of [its CCS] examples
operates at sufficient scale”); ECF#2056364 at 9-10 (EGST) (“experience is quite
limited with using CCS”); ECF#2054190 at 6-7 (West Virginia, et al.);
ECF#2055522 at 7 (Ohio and Kansas).

                                         5
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024    Page 17 of 56



    II.   SECTION 111 IS DESIGNED TO ENCOURAGE
          IMPLEMENTATION OF POLLUTION-CONTROL
          TECHNOLOGY AND DOES NOT REQUIRE THAT
          TECHNOLOGY ALREADY BE WIDELY DEPLOYED

      Movants’ stagnant conception of Section 111 ignores the provision’s role in

driving technology deployment. Congress did not require “best system”

technology to “be in actual routine use somewhere,” S. Rep. No. 91-1196, at 16

(1970), instead underscoring that Section 111 standards “should provide an

incentive for industries to work toward constant improvement in techniques for

preventing and controlling emissions from stationary sources,” id. at 17; see also S.

Rep. No. 95-127, at 17-18 (1977) (“[Section 111] sought to assure the use of

available technology and to stimulate the development of new technology.”); 89

Fed. Reg. at 39,830-32 (discussing history).

      This Court has recognized the technology-forcing character of Clean Air Act

Section 111. See Sierra Club v. Costle, 657 F.2d 298, 346-47, 364 (D.C. Cir.

1981); Portland Cement Ass’n v. Ruckelshaus, 486 F.2d 375, 391 (D.C. Cir. 1973)

(“Section 111 looks toward what may fairly be projected for the regulated future,

rather than the state of the art at present”). EPA has long employed Section 111 to

promulgate standards that drive development and deployment of technology that,




                                         6
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024    Page 18 of 56



while adequately demonstrated, is not in wide use. 6 For example, when EPA

promulgated the 1971 sulfur dioxide standard based on sulfur scrubbers, only three

power plants used such scrubbers and only one vendor sold them. Within six

years, those numbers increased to fourteen vendors and 119 scrubbers installed,

under construction, or planned. 7

       Movants’ claims disregard congressional intent, judicial precedent, and

EPA’s longstanding practice of setting standards to spur the dissemination (and




   6
     See, e.g., Essex Chem., 486 F.2d at 436-37 (finding operation of technology at
one plant can serve as the basis for adequate demonstration); Lignite Energy
Council, 198 F.3d at 934 (upholding standard for industrial boilers where EPA
based the standard solely on the technology’s performance at utility boilers); Sierra
Club, 657 F.2d at 363-64 (upholding standard based on a higher degree of control
than had been achieved by existing sources); see also Dena Adler & Andrew
Stawasz, Inst. for Policy Integrity, Defining “Adequately Demonstrated:” EPA’s
Long History of Forward-Looking Regulations under Section 111 of the Clean Air
Act 5-8 (2024),
https://policyintegrity.org/files/publications/EPA%E2%80%99s_Long_History_of
_ForwardLooking_Standards_Under_Section_111_of_the_Clean_Air_Act_Policy
_Brief.pdf; Larry Parker, et al., Climate Change: Potential Regulation of
Stationary Greenhouse Gas Sources Under the Clean Air Act 17 (Congressional
Research Serv. 2009) (“It is an understatement to say that the new source
performance standards promulgated by the EPA were technology-forcing.”
(quoting Donald Shattuck, et al., A History of Flue Gas Desulfurization (FGD)—
The Early Years, UE Technical Paper (2007))).
   7
     Parker, et al., supra, at 18; EPA, Press Release, EPA Says Scrubbers
Necessary for Health Protection Under Coal Conversion Plan (July 14, 1977),
https://www.epa.gov/archive/epa/aboutepa/epa-says-scrubbers-necessary-health-
protection-under-coal-conversion-plan.html.

                                         7
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024    Page 19 of 56



even the development) of control technology.8 Although Movants would prefer to

address climate pollution on their own schedule, see, e.g., ECF#2056352 at 23

(EEI) (“Once CCS is in fact adequately demonstrated, EEI’s members will deploy

it”), the Clean Air Act prioritizes public health and welfare. Section 111

authorizes EPA to “force” technology development through regulation; a fortiori it

allows EPA to predicate standards upon technologies like CCS that are well

established though not yet “in widespread use.” 89 Fed. Reg. at 39,832. Indeed, in

support of its determination, EPA exhaustively explained that each component of

the CCS requirement is achievable and that CCS is “ripe for wider

implementation,” id. at 39,939.

   III.   MOVANTS IGNORE RECENT ACTS OF CONGRESS THAT
          DIRECTLY SUPPORT THE RULES

      Though one would never know it from the stay motions, Congress recently

enacted two major statutes that provide “important context” for and directly

support EPA’s Rules. See 89 Fed. Reg. at 39,820; see also id. at 39,800, 39,806,

39,822 & nn.166-69, 39,851. In the 2021 Infrastructure Act and the 2022 Inflation

Reduction Act, Congress provided major financial support for the deployment of

power-sector CCS. And in the latter, Congress specifically directed EPA to do


  8
    See Margaret Taylor, et al., Regulation as the Mother of Innovation: The Case
of SO2 Control, 27 L. & Pol’y 349, 356, 362 fig.4 (2005) (detailing how regulation
drove development of technologies, resulting in the U.S. scaling and selling them
globally).

                                         8
USCA Case #24-1120      Document #2059515            Filed: 06/12/2024    Page 20 of 56



what the agency has done here: use the Clean Air Act to reduce climate pollution

beyond the substantial reductions expected from market forces and voluntary

action. See 42 U.S.C. § 7435(a)(6). Movants’ silence on the recent enactments is

telling.

       The legislation undercuts Movants’ arguments in multiple respects. First, by

providing substantial financial support for CCS, these statutes contribute to cost-

reasonableness of the standards and enable greater stringency under a statute that

makes “cost” an explicit part of EPA’s rulemaking. See 42 U.S.C. § 7411(a)(1); 89

Fed. Reg. at 39,820 (statutory investments “influence where control technologies

can be feasibly and cost-reasonably deployed”). In the Infrastructure Act,

Congress invested billions of dollars in grants and low-interest loans to support

expansion of power-plant CCS. Pub. L. No. 117-58, §§ 40301-40308, 135 Stat.

986, 986-1005 (2021). Those investments include funds for carbon-capture hubs,

related infrastructure (e.g., pipelines, transport), and carbon-storage projects. 89

Fed. Reg. at 39,934. In the Inflation Reduction Act, Congress greatly expanded—

by fivefold—the value of “Section 45Q” tax credits for CCS. Pub. L. No. 117-169,

§ 13104, 136 Stat. 1924 (2022); see also 89 Fed. Reg. at 39,800 (discussing the

establishment and expansion of 45Q credits).9 The two statutes thus


  9
    Many Movants celebrated these investments. See e.g., EEI, Statement on the
Inflation Reduction Act Being Signed Into Law (Aug. 15, 2022),


                                          9
USCA Case #24-1120        Document #2059515        Filed: 06/12/2024   Page 21 of 56



      incentivize and facilitate the deployment of CCS … [and] support the EPA’s
      conclusion that CCS is the [best system] … because it is an adequately
      demonstrated and available control technology that significantly reduces
      emissions of dangerous pollution and because the costs of its installation and
      operation are reasonable.

89 Fed. Reg. at 39,800.

      Second, the legislation provides recent, conspicuous confirmation that, for

Congress, reducing power plant climate pollution “is a high priority” and one that

Congress meant for EPA to play a primary role in addressing—contrary to

reflexive arguments (e.g., ECF#2054190 at 4, 6, 14-15 (West Virginia, et al.);

ECF#2056364 at 5-7 (EGST); ECF#2056359 at 10-11 (NMA et al.)) that the Rules

implicate a “major question” that Congress did not authorize EPA to address.

       The Inflation Reduction Act effected “[t]he most important and far-reaching

amendments to the [Clean Air Act] in more than a generation,” 168 Cong. Rec.

E868 (2022) (Statement of Chair Frank Pallone, Jr.)—including Section 135, the

“Low Emissions Electricity Program.” 42 U.S.C. § 7435. Among other initiatives,



https://www.eei.org/en/news/news/all/eei-statement-on-the-inflation-reduction-act-
being-signed-into-law (“[T]hese policies strongly support the technologies needed
to accelerate the deployment of new clean energy resources … provid[ing]
significant long-term benefits to electricity customers across America.”); Duke
Energy, Federal Infrastructure Funding, https://www.duke-energy.com/partner-
with-us/infrastructure-investment-jobs-act (last visited June 10, 2024) (calling the
2021 and 2022 acts an “historic investment in clean energy infrastructure”); Am.
Pub. Power Ass’n, APPA Applauds House Passage of the Inflation Reduction Act
(Aug. 12, 2022), https://www.publicpower.org/publication/appa-applauds-house-
passage-inflation-reduction-act.

                                        10
USCA Case #24-1120      Document #2059515           Filed: 06/12/2024    Page 22 of 56



Section 135 requires EPA “to assess [by August 2023], the reductions in

greenhouse gas emissions that result from changes in domestic electricity

generation and use that are anticipated” through 2031, and “to ensure that

reductions in greenhouse gas emissions are achieved through use of the existing

authorities of [the Clean Air Act], incorporating the [required baseline]

assessment.” Id. § 7435(a)(5)-(a)(6) (emphasis added). Thus, it requires EPA to

employ the Act’s existing authorities to reduce greenhouse-gas emissions above

and beyond the baseline reductions expected to occur from other causes. Indeed:

      Congress understood in requesting this assessment that the process of
      decarbonizing U.S. electricity production was already well underway and
      accelerating even prior to enactment of the IRA.… By requiring a
      ‘reduction’ that incorporates EPA’s assessment, Congress is directing the
      Agency to use the authorities of the [Act] to achieve greater reductions than
      would otherwise be achieved.

Greg Dotson and Dustin J. Maghamfar, The Clean Air Act Amendments of 2022:

Clean Air, Climate Change, and the Inflation Reduction Act, 53 Envtl. L. Rep.

10017, 10033 (2023). Section 111 of the Clean Air Act—enacted in 1970 and

strengthened twice thereafter—is of course one of the “existing authorities”

referenced in 42 U.S.C. § 7435(a)(6). See 168 Cong. Rec. E868 (2022) (Rep.

Pallone noting “[t]hese ‘existing authorities’ include CAA Section 111”).

Movants’ rote assertions that the Rules trigger “major questions,” see

ECF#2054190 at 3, 13-15, even as Movants completely ignore important recent

legislation that directly supports EPA’s Rules, confirms that Movants’ arguments

                                         11
USCA Case #24-1120      Document #2059515           Filed: 06/12/2024   Page 23 of 56



have little to do with respecting Congress’s will. Enacted immediately after West

Virginia¸ the Inflation Reduction Act provides contemporary and clear

confirmation of congressional intent that EPA regulate power-plant carbon, taking

into account the newly provided incentives in so doing. Since the Rules follow this

fresh legislative command and use the “traditional” technology-based approach

recognized in West Virginia, there is no foothold for Movants’ major-questions

claims.

      Finally, it is significant that Congress has, in new Section 135(a)(6), funded

and directed EPA to use Clean Air Act authorities to achieve emissions reductions

beyond the reductions expected from ongoing clean-energy trends. Congress

recognized that the public interest favors emissions reductions from fossil-fired

plants themselves, see also West Virginia, 597 U.S. at 709-710, and is not fully

vindicated simply because “the electric generating industry” has “already

significantly reduced emissions,” ECF#2056364 at 28, by replacing some fossil

generation with clean power. Furthermore, that Congress obligated EPA to

“ensure” that emissions reductions occur through 2031, 42 U.S.C. § 7435(a)(5),

(6), shows that Congress, unlike Movants, understands that reduction of power-

plant climate pollution is highly time-sensitive.

                                  CONCLUSION

      The Court should deny the motions to stay the Rules.



                                          12
USCA Case #24-1120   Document #2059515      Filed: 06/12/2024   Page 24 of 56



June 11, 2024                    Respectfully submitted,


 Noha Haggag                      /s/ Sean H. Donahue
 Richard Yates                    Sean H. Donahue
 Vickie L. Patton                 Megan M. Herzog
 Environmental Defense Fund       Donahue, Goldberg & Herzog
 257 Park Avenue South            1008 Pennsylvania Ave., SE
 New York, NY 10010               Washington, D.C. 20003
 (202) 572-3286                   (202) 277-7085 (Donahue)
 nhaggag@edf.org                  sean@donahuegoldberg.com
 ryates@edf.org                   megan@donahuegoldberg.com
 vpatton@edf.org

                                  Counsel for Environmental Defense Fund




                                   13
USCA Case #24-1120       Document #2059515        Filed: 06/12/2024   Page 25 of 56



                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Amicus Curiae Brief contains 2554 words,

excluding exempted portions, and was composed in Times New Roman font, 14-

point. I certify that the foregoing complies with applicable type-volume and

typeface requirements.



Dated: June 11, 2024                         /s/ Sean H. Donahue
                                             Sean H. Donahue
USCA Case #24-1120      Document #2059515          Filed: 06/12/2024   Page 26 of 56



                         CERTIFICATE OF SERVICE

      I hereby certify that on June 11, 2024, I have served the foregoing brief on

all registered parties through the Court’s electronic case filing (CM/ECF) system.



                                             /s/ Sean H. Donahue
                                             Sean H. Donahue
USCA Case #24-1120   Document #2059515   Filed: 06/12/2024   Page 27 of 56




                         ADDENDUM
USCA Case #24-1120   Document #2059515      Filed: 06/12/2024   Page 28 of 56



                            Table of Contents

Pub. L. No. 117-58, §§ 40301-40308, 135 Stat. 986 (2021)…………………..A001

Pub. L. No. 117-169, § 13104, 136 Stat. 1924 (2022)……….………………...A021

Pub. L. No. 117-169, § 60103, 136 Stat. 2069 (2022)…………………………A027
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 29 of 56




                                                                    135 STAT. 986                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                        (3) encourage the energy industry to improve the opportuni-
                                                                                                   ties for students of minority-serving institutions, veterans, and
                                                                                                   displaced and unemployed energy workers to participate in
                                                                                                   internships, preapprenticeships, apprenticeships, and coopera-
                                                                                                   tive work-study programs in the energy industry; and
                                                                                                        (4) work with the National Laboratories to increase the
                                                                                                   participation of underrepresented groups, veterans, and dis-
                                                                                                   placed and unemployed energy workers in internships, fellow-
                                                                                                   ships, training programs, and employment at the National Lab-
                                                                                                   oratories.
                                                                                                   (f) TERM.—
                                                                                                        (1) IN GENERAL.—Subject to paragraph (2), the Board shall
                                                                                                   terminate on September 30, 2026.
                                                                                                        (2) EXTENSIONS.—The Secretary may renew the Board for
                                                                                                   1 or more 5-year periods by submitting, not later than the
                                                                                                   date described in subsection (d), a report described in that
                                                                                                   subsection that contains a determination by the Secretary that
                                                                                                   the Board should be renewed.

                                                                                                  TITLE III—FUELS AND TECHNOLOGY
                                                                                                   INFRASTRUCTURE INVESTMENTS
                                                                                            Subtitle A—Carbon Capture, Utilization,
                                                                                             Storage, and Transportation Infrastruc-
                                                                                             ture
                                                                    42 USC 16292            SEC. 40301. FINDINGS.
                                                                    note.
                                                                                                   Congress finds that—
                                                                                                        (1) the industrial sector is integral to the economy of the
                                                                                                   United States—
                                                                                                             (A) providing millions of jobs and essential products;
                                                                                                        and
                                                                                                             (B) demonstrating global leadership in manufacturing
                                                                                                        and innovation;
                                                                                                        (2) carbon capture and storage technologies are necessary
                                                                                                   for reducing hard-to-abate emissions from the industrial sector,
                                                                                                   which emits nearly 25 percent of carbon dioxide emissions
                                                                                                   in the United States;
                                                                                                        (3) carbon removal and storage technologies, including
                                                                                                   direct air capture, must be deployed at large-scale in the coming
                                                                                                   decades to remove carbon dioxide directly from the atmosphere;
                                                                                                        (4) large-scale deployment of carbon capture, removal, utili-
                                                                                                   zation, transport, and storage—
                                                                                                             (A) is critical for achieving mid-century climate goals;
                                                                                                        and
                                                                                                             (B) will drive regional economic development, techno-
                                                                                                        logical innovation, and high-wage employment;
                                                                                                        (5) carbon capture, removal, and utilization technologies
                                                                                                   require a backbone system of shared carbon dioxide transport
                                                                                                   and storage infrastructure to enable large-scale deployment,
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                   realize economies of scale, and create an interconnected carbon
                                                                                                   management market;




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00558   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A001
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 30 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 987

                                                                               (6) carbon dioxide transport infrastructure and permanent
                                                                           geological storage are proven and safe technologies with existing
                                                                           Federal and State regulatory frameworks;
                                                                               (7) carbon dioxide transport and storage infrastructure
                                                                           share similar barriers to deployment previously faced by other
                                                                           types of critical national infrastructure, such as high capital
                                                                           costs and chicken-and-egg challenges, that require Federal and
                                                                           State support, in combination with private investment, to be
                                                                           overcome; and
                                                                               (8) each State should take into consideration, with respect
                                                                           to new carbon dioxide transportation infrastructure—
                                                                                    (A) qualifying the infrastructure as pollution control
                                                                               devices under applicable laws (including regulations) of
                                                                               the State; and
                                                                                    (B) establishing a waiver of ad valorem and property
                                                                               taxes for the infrastructure for a period of not less than
                                                                               10 years.
                                                                    SEC. 40302. CARBON UTILIZATION PROGRAM.
                                                                        Section 969A of the Energy Policy Act of 2005 (42 U.S.C.
                                                                    16298a) is amended—
                                                                            (1) in subsection (a)—
                                                                                  (A) by redesignating paragraphs (3) and (4) as para-
                                                                            graphs (4) and (5), respectively; and
                                                                                  (B) by inserting after paragraph (2) the following:
                                                                            ‘‘(3) to develop or obtain, in coordination with other
                                                                        applicable Federal agencies and standard-setting organizations,
                                                                        standards and certifications, as appropriate, to facilitate the
                                                                        commercialization of the products and technologies described
                                                                        in paragraph (2);’’;
                                                                            (2) in subsection (b)—
                                                                                  (A) by redesignating paragraph (2) as paragraph (3);
                                                                                  (B) by inserting after paragraph (1) the following:
                                                                            ‘‘(2) GRANT PROGRAM.—
                                                                                  ‘‘(A) IN GENERAL.—Not later than 1 year after the                                       Deadline.
                                                                            date of enactment of the Infrastructure Investment and
                                                                            Jobs Act, the Secretary shall establish a program to provide
                                                                            grants to eligible entities to use in accordance with
                                                                            subparagraph (D).
                                                                                  ‘‘(B) ELIGIBLE ENTITIES.—To be eligible to receive a
                                                                            grant under this paragraph, an entity shall be—
                                                                                       ‘‘(i) a State;
                                                                                       ‘‘(ii) a unit of local government; or
                                                                                       ‘‘(iii) a public utility or agency.
                                                                                  ‘‘(C) APPLICATIONS.—Eligible entities desiring a grant
                                                                            under this paragraph shall submit to the Secretary an
                                                                            application at such time, in such manner, and containing
                                                                            such information as the Secretary determines to be appro-
                                                                            priate.
                                                                                  ‘‘(D) USE OF FUNDS.—An eligible entity shall use a
                                                                            grant received under this paragraph to procure and use
                                                                            commercial or industrial products that—
                                                                                       ‘‘(i) use or are derived from anthropogenic carbon
                                                                                  oxides; and
                                                                                       ‘‘(ii) demonstrate significant net reductions in
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                  lifecycle greenhouse gas emissions compared to incum-
                                                                                  bent technologies, processes, and products.’’; and




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00559   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A002
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 31 of 56




                                                                    135 STAT. 988                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                            (C) in paragraph (3) (as so redesignated), by striking
                                                                                                      ‘‘paragraph (1)’’ and inserting ‘‘this subsection’’; and
                                                                                                      (3) by striking subsection (d) and inserting the following:
                                                                    Time period.                ‘‘(d) AUTHORIZATION OF APPROPRIATIONS.—There are authorized
                                                                                            to be appropriated to the Secretary to carry out this section—
                                                                                                      ‘‘(1) $41,000,000 for fiscal year 2022;
                                                                                                      ‘‘(2) $65,250,000 for fiscal year 2023;
                                                                                                      ‘‘(3) $66,562,500 for fiscal year 2024;
                                                                                                      ‘‘(4) $67,940,625 for fiscal year 2025; and
                                                                                                      ‘‘(5) $69,387,656 for fiscal year 2026.’’.
                                                                                            SEC. 40303. CARBON CAPTURE TECHNOLOGY PROGRAM.
                                                                                                Section 962 of the Energy Policy Act of 2005 (42 U.S.C. 16292)
                                                                                            is amended—
                                                                                                    (1) in subsection (b)(2)—
                                                                                                         (A) in subparagraph (C), by striking ‘‘and’’ at the end;
                                                                                                         (B) in subparagraph (D), by striking ‘‘program.’’ and
                                                                                                    inserting ‘‘program for carbon capture technologies; and’’;
                                                                                                    and
                                                                                                         (C) by adding at the end the following:
                                                                                                         ‘‘(E) a front-end engineering and design program for
                                                                                                    carbon dioxide transport infrastructure necessary to enable
                                                                                                    deployment of carbon capture, utilization, and storage tech-
                                                                                                    nologies.’’; and
                                                                                                    (2) in subsection (d)(1)—
                                                                                                         (A) in subparagraph (C), by striking ‘‘and’’ at the end;
                                                                                                         (B) in subparagraph (D), by striking the period at
                                                                                                    the end and inserting ‘‘; and’’; and
                                                                                                         (C) by adding at the end the following:
                                                                                                         ‘‘(E) for activities under the front-end engineering and
                                                                                                    design program described in subsection (b)(2)(E),
                                                                                                    $100,000,000 for the period of fiscal years 2022 through
                                                                                                    2026.’’.
                                                                                            SEC. 40304. CARBON DIOXIDE TRANSPORTATION INFRASTRUCTURE
                                                                                                         FINANCE AND INNOVATION.
                                                                                                 (a) IN GENERAL.—Title IX of the Energy Policy Act of 2005
                                                                                            (42 U.S.C. 16181 et seq.) is amended by adding at the end the
                                                                                            following:

                                                                                            ‘‘Subtitle J—Carbon Dioxide Transpor-
                                                                                               tation Infrastructure Finance and Inno-
                                                                                               vation
                                                                    42 USC 16371.           ‘‘SEC. 999A. DEFINITIONS.
                                                                                                   ‘‘In this subtitle:
                                                                                                         ‘‘(1) CIFIA PROGRAM.—The term ‘CIFIA program’ means
                                                                                                   the carbon dioxide transportation infrastructure finance and
                                                                                                   innovation program established under section 999B(a).
                                                                                                         ‘‘(2) COMMON CARRIER.—The term ‘common carrier’ means
                                                                                                   a transportation infrastructure operator or owner that—
                                                                                                               ‘‘(A) publishes a publicly available tariff containing
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                         the just and reasonable rates, terms, and conditions of
                                                                                                         nondiscriminatory service; and




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00560   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A003
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 32 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 989

                                                                                      ‘‘(B) holds itself out to provide transportation services
                                                                                to the public for a fee.
                                                                                ‘‘(3) CONTINGENT COMMITMENT.—The term ‘contingent
                                                                           commitment’ means a commitment to obligate funds from future
                                                                           available budget authority that is—
                                                                                      ‘‘(A) contingent on those funds being made available
                                                                                in law at a future date; and
                                                                                      ‘‘(B) not an obligation of the Federal Government.
                                                                                ‘‘(4) ELIGIBLE PROJECT COSTS.—The term ‘eligible project
                                                                           costs’ means amounts substantially all of which are paid by,
                                                                           or for the account of, an obligor in connection with a project,
                                                                           including—
                                                                                      ‘‘(A) the cost of—
                                                                                            ‘‘(i) development-phase activities, including plan-
                                                                                      ning, feasibility analysis, revenue forecasting, environ-
                                                                                      mental review, permitting, preliminary engineering
                                                                                      and design work, and other preconstruction activities;
                                                                                            ‘‘(ii) construction, reconstruction, rehabilitation,
                                                                                      replacement, and acquisition of real property (including
                                                                                      land relating to the project and improvements to land),
                                                                                      environmental mitigation, construction contingencies,
                                                                                      and acquisition and installation of equipment
                                                                                      (including labor); and
                                                                                            ‘‘(iii) capitalized interest necessary to meet market
                                                                                      requirements, reasonably required reserve funds, cap-
                                                                                      ital issuance expenses, and other carrying costs during
                                                                                      construction; and
                                                                                      ‘‘(B) transaction costs associated with financing the
                                                                                project, including—
                                                                                            ‘‘(i) the cost of legal counsel and technical consult-
                                                                                      ants; and
                                                                                            ‘‘(ii) any subsidy amount paid in accordance with
                                                                                      section 999B(c)(3)(B)(ii) or section 999C(b)(6)(B)(ii).
                                                                                ‘‘(5) FEDERAL CREDIT INSTRUMENT.—The term ‘Federal
                                                                           credit instrument’ means a secured loan or loan guarantee
                                                                           authorized to be provided under the CIFIA program with
                                                                           respect to a project.
                                                                                ‘‘(6) LENDER.—The term ‘lender’ means a qualified institu-
                                                                           tional buyer (as defined in section 230.144A(a) of title 17,
                                                                           Code of Federal Regulations (or a successor regulation), com-
                                                                           monly known as Rule 144A(a) of the Securities and Exchange
                                                                           Commission and issued under the Securities Act of 1933 (15
                                                                           U.S.C. 77a et seq.)), that is not a Federal qualified institutional
                                                                           buyer.
                                                                                ‘‘(7) LETTER OF INTEREST.—The term ‘letter of interest’
                                                                           means a letter submitted by a potential applicant prior to
                                                                           an application for credit assistance in a format prescribed by
                                                                           the Secretary on the website of the CIFIA program that—
                                                                                      ‘‘(A) describes the project and the location, purpose,
                                                                                and cost of the project;
                                                                                      ‘‘(B) outlines the proposed financial plan, including
                                                                                the requested credit and grant assistance and the proposed
                                                                                obligor;
                                                                                      ‘‘(C) provides a status of environmental review; and
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                      ‘‘(D) provides information regarding satisfaction of
                                                                                other eligibility requirements of the CIFIA program.




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00561   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A004
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 33 of 56




                                                                    135 STAT. 990                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                        ‘‘(8) LOAN GUARANTEE.—The term ‘loan guarantee’ means
                                                                                                   any guarantee or other pledge by the Secretary to pay all
                                                                                                   or part of the principal of, and interest on, a loan made to
                                                                                                   an obligor, or debt obligation issued by an obligor, in each
                                                                                                   case funded by a lender.
                                                                                                        ‘‘(9) MASTER CREDIT AGREEMENT.—The term ‘master credit
                                                                                                   agreement’ means a conditional agreement that—
                                                                                                              ‘‘(A) is for the purpose of extending credit assistance
                                                                                                        for—
                                                                                                                    ‘‘(i) a project of high priority under section
                                                                                                              999B(c)(3)(A); or
                                                                                                                    ‘‘(ii) a project covered under section 999B(c)(3)(B);
                                                                                                              ‘‘(B) does not provide for a current obligation of Federal
                                                                                                        funds; and
                                                                                                              ‘‘(C) would—
                                                                                                                    ‘‘(i) make a contingent commitment of a Federal
                                                                                                              credit instrument or grant at a future date, subject
                                                                                                              to—
                                                                                                                           ‘‘(I) the availability of future funds being made
                                                                                                                    available to carry out the CIFIA program; and
                                                                                                                           ‘‘(II) the satisfaction of all conditions for the
                                                                                                                    provision of credit assistance under the CIFIA pro-
                                                                                                                    gram, including section 999C(b);
                                                                                                                    ‘‘(ii) establish the maximum amounts and general
                                                                                                              terms and conditions of the Federal credit instruments
                                                                                                              or grants;
                                                                                                                    ‘‘(iii) identify the 1 or more revenue sources that
                                                                                                              will secure the repayment of the Federal credit
                                                                                                              instruments;
                                                                                                                    ‘‘(iv) provide for the obligation of funds for the
                                                                                                              Federal credit instruments or grants after all require-
                                                                                                              ments have been met for the projects subject to the
                                                                                                              agreement, including—
                                                                                                                           ‘‘(I) compliance with all applicable require-
                                                                                                                    ments specified under the CIFIA program,
                                                                                                                    including sections 999B(d) and 999C(b)(1); and
                                                                                                                           ‘‘(II) the availability of funds to carry out the
                                                                                                                    CIFIA program; and
                                                                    Deadline.                                       ‘‘(v) require that contingent commitments shall
                                                                                                              result in a financial close and obligation of credit or
                                                                                                              grant assistance by not later than 4 years after the
                                                                                                              date of entry into the agreement or release of the
                                                                                                              commitment, as applicable, unless otherwise extended
                                                                                                              by the Secretary.
                                                                                                        ‘‘(10) OBLIGOR.—The term ‘obligor’ means a corporation,
                                                                                                   partnership, joint venture, trust, non-Federal governmental
                                                                                                   entity, agency, or instrumentality, or other entity that is liable
                                                                                                   for payment of the principal of, or interest on, a Federal credit
                                                                                                   instrument.
                                                                                                        ‘‘(11) PRODUCED IN THE UNITED STATES.—The term ‘pro-
                                                                                                   duced in the United States’, with respect to iron and steel,
                                                                                                   means that all manufacturing processes for the iron and steel,
                                                                                                   including the application of any coating, occurs within the
                                                                                                   United States.
                                                                                                        ‘‘(12) PROJECT.—The term ‘project’ means a project for
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                   common carrier carbon dioxide transportation infrastructure
                                                                                                   or associated equipment, including pipeline, shipping, rail, or




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00562   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A005
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 34 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 991

                                                                           other transportation infrastructure and associated equipment,
                                                                           that will transport or handle carbon dioxide captured from
                                                                           anthropogenic sources or ambient air, as the Secretary deter-
                                                                           mines to be appropriate.
                                                                                ‘‘(13) PROJECT OBLIGATION.—The term ‘project obligation’
                                                                           means any note, bond, debenture, or other debt obligation
                                                                           issued by an obligor in connection with the financing of a
                                                                           project, other than a Federal credit instrument.
                                                                                ‘‘(14) SECURED LOAN.—The term ‘secured loan’ means a
                                                                           direct loan to an obligor or a debt obligation issued by an
                                                                           obligor and purchased by the Secretary, in each case funded
                                                                           by the Secretary in connection with the financing of a project
                                                                           under section 999C.
                                                                                ‘‘(15) SUBSIDY AMOUNT.—The term ‘subsidy amount’ means
                                                                           the amount of budget authority sufficient to cover the estimated
                                                                           long-term cost to the Federal Government of a Federal credit
                                                                           instrument—
                                                                                     ‘‘(A) calculated on a net present value basis; and
                                                                                     ‘‘(B) excluding administrative costs and any incidental
                                                                                effects on governmental receipts or outlays in accordance
                                                                                with the Federal Credit Reform Act of 1990 (2 U.S.C.
                                                                                661 et seq.).
                                                                                ‘‘(16) SUBSTANTIAL COMPLETION.—The term ‘substantial
                                                                           completion’, with respect to a project, means the date—
                                                                                     ‘‘(A) on which the project commences transportation
                                                                                of carbon dioxide; or
                                                                                     ‘‘(B) of a comparable event to the event described in
                                                                                subparagraph (A), as determined by the Secretary and
                                                                                specified in the project credit agreement.
                                                                    ‘‘SEC. 999B. DETERMINATION OF ELIGIBILITY AND PROJECT SELEC-                                          42 USC 16372.
                                                                                 TION.
                                                                         ‘‘(a) ESTABLISHMENT OF PROGRAM.—The Secretary shall estab-
                                                                    lish and carry out a carbon dioxide transportation infrastructure
                                                                    finance and innovation program, under which the Secretary shall
                                                                    provide for eligible projects in accordance with this subtitle—
                                                                               ‘‘(1) a Federal credit instrument under section 999C;
                                                                               ‘‘(2) a grant under section 999D; or
                                                                               ‘‘(3) both a Federal credit instrument and a grant.
                                                                         ‘‘(b) ELIGIBILITY.—
                                                                               ‘‘(1) IN GENERAL.—A project shall be eligible to receive
                                                                         a Federal credit instrument or a grant under the CIFIA pro-
                                                                         gram if—
                                                                                     ‘‘(A) the entity proposing to carry out the project sub-
                                                                               mits a letter of interest prior to submission of an applica-
                                                                               tion under paragraph (3) for the project; and
                                                                                     ‘‘(B) the project meets the criteria described in this
                                                                               subsection.
                                                                               ‘‘(2) CREDITWORTHINESS.—
                                                                                     ‘‘(A) IN GENERAL.—Each project and obligor that                                      Determination.
                                                                               receives a Federal credit instrument or a grant under the
                                                                               CIFIA program shall be creditworthy, such that there exists
                                                                               a reasonable prospect of repayment of the principal and
                                                                               interest on the Federal credit instrument, as determined
                                                                               by the Secretary under subparagraph (B).
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                     ‘‘(B) REASONABLE PROSPECT OF REPAYMENT.—The Sec-
                                                                               retary shall base a determination of whether there is a




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00563   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                           A006
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 35 of 56




                                                                    135 STAT. 992                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                       reasonable prospect of repayment under subparagraph (A)
                                                                                                       on a comprehensive evaluation of whether the obligor has
                                                                                                       a reasonable prospect of repaying the Federal credit
                                                                                                       instrument for the eligible project, including evaluation
                                                                                                       of—
                                                                                                                    ‘‘(i) the strength of the contractual terms of an
                                                                                                              eligible project (if available for the applicable market
                                                                                                              segment);
                                                                                                                    ‘‘(ii) the forecast of noncontractual cash flows sup-
                                                                                                              ported by market projections from reputable sources,
                                                                                                              as determined by the Secretary, and cash sweeps or
                                                                                                              other structural enhancements;
                                                                                                                    ‘‘(iii) the projected financial strength of the
                                                                                                              obligor—
                                                                                                                           ‘‘(I) at the time of loan close; and
                                                                                                                           ‘‘(II) throughout the loan term, including after
                                                                                                                    the project is completed;
                                                                                                                    ‘‘(iv) the financial strength of the investors and
                                                                                                              strategic partners of the obligor, if applicable; and
                                                                                                                    ‘‘(v) other financial metrics and analyses that are
                                                                                                              relied on by the private lending community and nation-
                                                                                                              ally recognized credit rating agencies, as determined
                                                                                                              appropriate by the Secretary.
                                                                                                       ‘‘(3) APPLICATIONS.—To be eligible for assistance under the
                                                                                                   CIFIA program, an obligor shall submit to the Secretary a
                                                                                                   project application at such time, in such manner, and containing
                                                                                                   such information as the Secretary determines to be appropriate.
                                                                                                       ‘‘(4) ELIGIBLE PROJECT COSTS.—A project under the CIFIA
                                                                                                   program shall have eligible project costs that are reasonably
                                                                                                   anticipated to equal or exceed $100,000,000.
                                                                                                       ‘‘(5) REVENUE SOURCES.—The applicable Federal credit
                                                                                                   instrument shall be repayable, in whole or in part, from—
                                                                                                              ‘‘(A) user fees;
                                                                                                              ‘‘(B) payments owing to the obligor under a public-
                                                                                                        private partnership; or
                                                                                                              ‘‘(C) other revenue sources that also secure or fund
                                                                                                        the project obligations.
                                                                                                        ‘‘(6) OBLIGOR WILL BE IDENTIFIED LATER.—A State, local
                                                                                                   government, agency, or instrumentality of a State or local
                                                                                                   government, or a public authority, may submit to the Secretary
                                                                                                   an application under paragraph (3), under which a private
                                                                                                   party to a public-private partnership will be—
                                                                                                              ‘‘(A) the obligor; and
                                                                                                              ‘‘(B) identified at a later date through completion of
                                                                                                       a procurement and selection of the private party.
                                                                                                       ‘‘(7) BENEFICIAL EFFECTS.—The Secretary shall determine
                                                                                                   that financial assistance for each project under the CIFIA pro-
                                                                                                   gram will—
                                                                                                              ‘‘(A) attract public or private investment for the project;
                                                                                                       or
                                                                                                              ‘‘(B) enable the project to proceed at an earlier date
                                                                                                       than the project would otherwise be able to proceed or
                                                                                                       reduce the lifecycle costs (including debt service costs) of
                                                                                                       the project.
                                                                    Deadline.                          ‘‘(8) PROJECT READINESS.—To be eligible for assistance
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                   under the CIFIA program, the applicant shall demonstrate
                                                                                                   a reasonable expectation that the contracting process for




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00564   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A007
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 36 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 993

                                                                           construction of the project can commence by not later than
                                                                           90 days after the date on which a Federal credit instrument
                                                                           or grant is obligated for the project under the CIFIA program.
                                                                           ‘‘(c) SELECTION AMONG ELIGIBLE PROJECTS.—
                                                                                 ‘‘(1) ESTABLISHMENT OF APPLICATION PROCESS.—The Sec-
                                                                           retary shall establish an application process under which
                                                                           projects that are eligible to receive assistance under subsection
                                                                           (b) may—
                                                                                       ‘‘(A) receive credit assistance on terms acceptable to
                                                                                 the Secretary, if adequate funds are available (including
                                                                                 any funds provided on behalf of an eligible project under
                                                                                 paragraph (3)(B)(ii)) to cover the subsidy amount associated
                                                                                 with the Federal credit instrument; and
                                                                                       ‘‘(B) receive grants under section 999D if—
                                                                                             ‘‘(i) adequate funds are available to cover the
                                                                                       amount of the grant; and
                                                                                             ‘‘(ii) the Secretary determines that the project is
                                                                                       eligible under subsection (b).
                                                                                 ‘‘(2) PRIORITY.—In selecting projects to receive credit assist-
                                                                           ance under subsection (b), the Secretary shall give priority
                                                                           to projects that—
                                                                                       ‘‘(A) are large-capacity, common carrier infrastructure;
                                                                                       ‘‘(B) have demonstrated demand for use of the infra-
                                                                                 structure by associated projects that capture carbon dioxide
                                                                                 from anthropogenic sources or ambient air;
                                                                                       ‘‘(C) enable geographical diversity in associated projects
                                                                                 that capture carbon dioxide from anthropogenic sources
                                                                                 or ambient air, with the goal of enabling projects in all
                                                                                 major carbon dioxide-emitting regions of the United States;
                                                                                 and
                                                                                       ‘‘(D) are sited within, or adjacent to, existing pipeline
                                                                                 or other linear infrastructure corridors, in a manner that
                                                                                 minimizes environmental disturbance and other siting con-
                                                                                 cerns.
                                                                                 ‘‘(3) MASTER CREDIT AGREEMENTS.—
                                                                                       ‘‘(A) PRIORITY PROJECTS.—The Secretary may enter into
                                                                                 a master credit agreement for a project that the Secretary
                                                                                 determines—
                                                                                             ‘‘(i) will likely be eligible for credit assistance under
                                                                                       subsection (b), on obtaining—
                                                                                                    ‘‘(I) additional commitments from associated
                                                                                             carbon capture projects to use the project; or
                                                                                                    ‘‘(II) all necessary permits and approvals; and
                                                                                             ‘‘(ii) is a project of high priority, as determined
                                                                                       in accordance with the criteria described in paragraph
                                                                                       (2).
                                                                                       ‘‘(B) ADEQUATE FUNDING NOT AVAILABLE.—If the Sec-
                                                                                 retary fully obligates funding to eligible projects for a fiscal
                                                                                 year and adequate funding is not available to fund a Fed-
                                                                                 eral credit instrument, a project sponsor (including a unit
                                                                                 of State or local government) of an eligible project may
                                                                                 elect—
                                                                                             ‘‘(i)(I) to enter into a master credit agreement in
                                                                                       lieu of the Federal credit instrument; and
                                                                                             ‘‘(II) to wait to execute a Federal credit instrument
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                       until the fiscal year for which additional funds are
                                                                                       available to receive credit assistance; or




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00565   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A008
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 37 of 56




                                                                    135 STAT. 994                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                                 ‘‘(ii) if the lack of adequate funding is solely with
                                                                                                           respect to amounts available for the subsidy amount,
                                                                                                           to pay the subsidy amount to fund the Federal credit
                                                                                                           instrument.
                                                                                               ‘‘(d) FEDERAL REQUIREMENTS.—
                                                                                                     ‘‘(1) IN GENERAL.—Nothing in this subtitle supersedes the
                                                                                               applicability of any other requirement under Federal law
                                                                                               (including regulations).
                                                                                                     ‘‘(2) NEPA.—Federal credit assistance may only be provided
                                                                                               under this subtitle for a project that has received an environ-
                                                                                               mental categorical exclusion, a finding of no significant impact,
                                                                                               or a record of decision under the National Environmental Policy
                                                                                               Act of 1969 (42 U.S.C. 4321 et seq.).
                                                                                               ‘‘(e) USE OF AMERICAN IRON, STEEL, AND MANUFACTURED
                                                                                            GOODS.—
                                                                                                     ‘‘(1) IN GENERAL.—Except as provided in paragraph (2),
                                                                                               no Federal credit instrument or grant provided under the CIFIA
                                                                                               program shall be made available for a project unless all iron,
                                                                                               steel, and manufactured goods used in the project are produced
                                                                                               in the United States.
                                                                                                     ‘‘(2) EXCEPTIONS.—Paragraph (1) shall not apply in any
                                                                                               case or category of cases with respect to which the Secretary
                                                                                               determines that—
                                                                                                           ‘‘(A) the application would be inconsistent with the
                                                                                                     public interest;
                                                                                                           ‘‘(B) iron, steel, or a relevant manufactured good is
                                                                                                     not produced in the United States in sufficient and reason-
                                                                                                     ably available quantity, or of a satisfactory quality; or
                                                                                                           ‘‘(C) the inclusion of iron, steel, or a manufactured
                                                                                                     good produced in the United States will increase the cost
                                                                                                     of the overall project by more than 25 percent.
                                                                                                     ‘‘(3) WAIVERS.—If the Secretary receives a request for a
                                                                                               waiver under this subsection, the Secretary shall—
                                                                    Public                                 ‘‘(A) make available to the public a copy of the request,
                                                                    information.                     together with any information available to the Secretary
                                                                                                     concerning the request—
                                                                                                                 ‘‘(i) on an informal basis; and
                                                                                                                 ‘‘(ii) by electronic means, including on the official
                                                                                                           public website of the Department;
                                                                                                           ‘‘(B) allow for informal public comment relating to the
                                                                                                     request for not fewer than 15 days before making a deter-
                                                                                                     mination with respect to the request; and
                                                                                                           ‘‘(C) approve or disapprove the request by not later
                                                                                                     than the date that is 120 days after the date of receipt
                                                                                                     of the request.
                                                                                                     ‘‘(4) APPLICABILITY.—This subsection shall be applied in
                                                                                               accordance with any applicable obligations of the United States
                                                                                               under international agreements.
                                                                                               ‘‘(f) APPLICATION PROCESSING PROCEDURES.—
                                                                    Deadline.                        ‘‘(1) NOTICE OF COMPLETE APPLICATION.—Not later than
                                                                                               30 days after the date of receipt of an application under this
                                                                                               section, the Secretary shall provide to the applicant a written
                                                                                               notice describing whether—
                                                                                                           ‘‘(A) the application is complete; or
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                           ‘‘(B) additional information or materials are needed
                                                                                                     to complete the application.




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00566   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A009
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 38 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 995

                                                                             ‘‘(2) APPROVAL OR DENIAL OF APPLICATION.—Not later than                                      Deadline.
                                                                        60 days after the date of issuance of a written notice under
                                                                        paragraph (1), the Secretary shall provide to the applicant
                                                                        a written notice informing the applicant whether the Secretary
                                                                        has approved or disapproved the application.
                                                                        ‘‘(g) DEVELOPMENT-PHASE ACTIVITIES.—Any Federal credit
                                                                    instrument provided under the CIFIA program may be used to
                                                                    finance up to 100 percent of the cost of development-phase activities,
                                                                    as described in section 999A(4)(A).
                                                                    ‘‘SEC. 999C. SECURED LOANS.                                                                           42 USC 16373.
                                                                           ‘‘(a) AGREEMENTS.—
                                                                                 ‘‘(1) IN GENERAL.—Subject to paragraph (2), the Secretary
                                                                           may enter into agreements with 1 or more obligors to make
                                                                           secured loans, the proceeds of which—
                                                                                       ‘‘(A) shall be used—
                                                                                             ‘‘(i) to finance eligible project costs of any project
                                                                                       selected under section 999B;
                                                                                             ‘‘(ii) to refinance interim construction financing of
                                                                                       eligible project costs of any project selected under sec-
                                                                                       tion 999B; or
                                                                                             ‘‘(iii) to refinance long-term project obligations or
                                                                                       Federal credit instruments, if the refinancing provides
                                                                                       additional funding capacity for the completion,
                                                                                       enhancement, or expansion of any project that—
                                                                                                    ‘‘(I) is selected under section 999B; or
                                                                                                    ‘‘(II) otherwise meets the requirements of that
                                                                                             section; and
                                                                                       ‘‘(B) may be used in accordance with subsection (b)(7)
                                                                                 to pay any fees collected by the Secretary under subpara-
                                                                                 graph (B) of that subsection.
                                                                                 ‘‘(2) RISK ASSESSMENT.—Before entering into an agreement                                 Consultation.
                                                                           under this subsection, the Secretary, in consultation with the
                                                                           Director of the Office of Management and Budget, shall deter-
                                                                           mine an appropriate credit subsidy amount for each secured
                                                                           loan, taking into account all relevant factors, including the
                                                                           creditworthiness factors under section 999B(b)(2).
                                                                           ‘‘(b) TERMS AND LIMITATIONS.—
                                                                                 ‘‘(1) IN GENERAL.—A secured loan under this section with
                                                                           respect to a project shall be on such terms and conditions
                                                                           and contain such covenants, representations, warranties, and
                                                                           requirements (including requirements for audits) as the Sec-
                                                                           retary determines to be appropriate.
                                                                                 ‘‘(2) MAXIMUM AMOUNT.—The amount of a secured loan
                                                                           under this section shall not exceed an amount equal to 80
                                                                           percent of the reasonably anticipated eligible project costs.
                                                                                 ‘‘(3) PAYMENT.—A secured loan under this section shall
                                                                           be payable, in whole or in part, from—
                                                                                       ‘‘(A) user fees;
                                                                                       ‘‘(B) payments owing to the obligor under a public-
                                                                                 private partnership; or
                                                                                       ‘‘(C) other revenue sources that also secure or fund
                                                                                 the project obligations.
                                                                                 ‘‘(4) INTEREST RATE.—
                                                                                       ‘‘(A) IN GENERAL.—Except as provided in subparagraph
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                 (B), the interest rate on a secured loan under this section
                                                                                 shall be not less than the interest rate reflected in the




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00567   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                          A010
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 39 of 56




                                                                    135 STAT. 996                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                       yield on United States Treasury securities of a similar
                                                                                                       maturity to the maturity of the secured loan on the date
                                                                                                       of execution of the loan agreement.
                                                                                                             ‘‘(B) LIMITED BUYDOWNS.—
                                                                                                                   ‘‘(i) IN GENERAL.—Subject to clause (iii), the Sec-
                                                                                                             retary may lower the interest rate of a secured loan
                                                                                                             under this section to not lower than the interest rate
                                                                                                             described in clause (ii), if the interest rate has
                                                                                                             increased during the period—
                                                                                                                          ‘‘(I) beginning on, as applicable—
                                                                                                                                ‘‘(aa) the date on which an application
                                                                                                                          acceptable to the Secretary is submitted for
                                                                                                                          the applicable project; or
                                                                                                                                ‘‘(bb) the date on which the Secretary
                                                                                                                          entered into a master credit agreement for
                                                                                                                          the applicable project; and
                                                                                                                          ‘‘(II) ending on the date on which the Secretary
                                                                                                                   executes the Federal credit instrument for the
                                                                                                                   applicable project that is the subject of the secured
                                                                                                                   loan.
                                                                                                                   ‘‘(ii) DESCRIPTION OF INTEREST RATE.—The interest
                                                                                                             rate referred to in clause (i) is the interest rate
                                                                                                             reflected in the yield on United States Treasury securi-
                                                                                                             ties of a similar maturity to the maturity of the secured
                                                                                                             loan in effect, as applicable to the project that is the
                                                                                                             subject of the secured loan, on—
                                                                                                                          ‘‘(I) the date described in clause (i)(I)(aa); or
                                                                                                                          ‘‘(II) the date described in clause (i)(I)(bb).
                                                                                                                   ‘‘(iii) LIMITATION.—The interest rate of a secured
                                                                                                             loan may not be lowered pursuant to clause (i) by
                                                                                                             more than 11⁄2 percentage points (150 basis points).
                                                                                                       ‘‘(5) MATURITY DATE.—The final maturity date of the
                                                                                                   secured loan shall be the earlier of—
                                                                                                             ‘‘(A) the date that is 35 years after the date of substan-
                                                                                                       tial completion of the project; and
                                                                                                             ‘‘(B) if the useful life of the capital asset being financed
                                                                                                       is of a lesser period, the date that is the end of the useful
                                                                                                       life of the asset.
                                                                                                       ‘‘(6) NONSUBORDINATION.—
                                                                                                             ‘‘(A) IN GENERAL.—Except as provided in subparagraph
                                                                                                       (B), the secured loan shall not be subordinated to the
                                                                                                       claims of any holder of project obligations in the event
                                                                                                       of bankruptcy, insolvency, or liquidation of the obligor.
                                                                                                             ‘‘(B) PREEXISTING INDENTURE.—
                                                                    Waiver authority.                              ‘‘(i) IN GENERAL.—The Secretary shall waive the
                                                                                                             requirement under subparagraph (A) for a public
                                                                                                             agency borrower that is financing ongoing capital pro-
                                                                                                             grams and has outstanding senior bonds under a pre-
                                                                                                             existing indenture, if—
                                                                                                                          ‘‘(I) the secured loan is rated in the A category
                                                                                                                   or higher; and
                                                                                                                          ‘‘(II) the secured loan is secured and payable
                                                                                                                   from pledged revenues not affected by project
                                                                                                                   performance, such as a tax-backed revenue pledge
                                                                                                                   or a system-backed pledge of project revenues.
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                                   ‘‘(ii) LIMITATION.—If the Secretary waives the non-
                                                                                                             subordination requirement under this subparagraph—




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00568   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A011
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 40 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 997

                                                                                                   ‘‘(I) the maximum credit subsidy amount to
                                                                                             be paid by the Federal Government shall be not
                                                                                             more than 10 percent of the principal amount of
                                                                                             the secured loan; and
                                                                                                   ‘‘(II) the obligor shall be responsible for paying
                                                                                             the remainder of the subsidy amount, if any.
                                                                                 ‘‘(7) FEES.—
                                                                                       ‘‘(A) IN GENERAL.—The Secretary may collect a fee
                                                                                 on or after the date of the financial close of a Federal
                                                                                 credit instrument under this section in an amount equal
                                                                                 to not more than $3,000,000 to cover all or a portion
                                                                                 of the costs to the Federal Government of providing the
                                                                                 Federal credit instrument.
                                                                                       ‘‘(B) AMENDMENT TO ADD COST OF FEES TO SECURED
                                                                                 LOAN.—If the Secretary collects a fee from an obligor under
                                                                                 subparagraph (A) to cover all or a portion of the costs
                                                                                 to the Federal Government of providing a secured loan,
                                                                                 the obligor and the Secretary may amend the terms of
                                                                                 the secured loan to add to the principal of the secured
                                                                                 loan an amount equal to the amount of the fee collected
                                                                                 by the Secretary.
                                                                                 ‘‘(8) MAXIMUM FEDERAL INVOLVEMENT.—The total Federal
                                                                           assistance provided for a project under the CIFIA program,
                                                                           including any grant provided under section 999D, shall not
                                                                           exceed an amount equal to 80 percent of the eligible project
                                                                           costs.
                                                                           ‘‘(c) REPAYMENT.—
                                                                                 ‘‘(1) SCHEDULE.—The Secretary shall establish a repayment
                                                                           schedule for each secured loan under this section based on—
                                                                                       ‘‘(A) the projected cash flow from project revenues and
                                                                                 other repayment sources; and
                                                                                       ‘‘(B) the useful life of the project.
                                                                                 ‘‘(2) COMMENCEMENT.—Scheduled loan repayments of prin-                                   Deadline.
                                                                           cipal or interest on a secured loan under this section shall
                                                                           commence not later than 5 years after the date of substantial
                                                                           completion of the project.
                                                                                 ‘‘(3) DEFERRED PAYMENTS.—
                                                                                       ‘‘(A) IN GENERAL.—If, at any time after the date of
                                                                                 substantial completion of a project, the project is unable
                                                                                 to generate sufficient revenues in excess of reasonable and
                                                                                 necessary operating expenses to pay the scheduled loan
                                                                                 repayments of principal and interest on the secured loan,
                                                                                 the Secretary may, subject to subparagraph (C), allow the
                                                                                 obligor to add unpaid principal and interest to the out-
                                                                                 standing balance of the secured loan.
                                                                                       ‘‘(B) INTEREST.—Any payment deferred under subpara-
                                                                                 graph (A) shall—
                                                                                             ‘‘(i) continue to accrue interest in accordance with
                                                                                       subsection (b)(4) until fully repaid; and
                                                                                             ‘‘(ii) be scheduled to be amortized over the
                                                                                       remaining term of the loan.
                                                                                       ‘‘(C) CRITERIA.—
                                                                                             ‘‘(i) IN GENERAL.—Any payment deferral under
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                       subparagraph (A) shall be contingent on the project
                                                                                       meeting criteria established by the Secretary.




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00569   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A012
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 41 of 56




                                                                    135 STAT. 998                              PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                                    ‘‘(ii) REPAYMENT STANDARDS.—The criteria estab-
                                                                                                               lished pursuant to clause (i) shall include standards
                                                                                                               for the reasonable prospect of repayment.
                                                                                                         ‘‘(4) PREPAYMENT.—
                                                                                                               ‘‘(A) USE OF EXCESS REVENUES.—Any excess revenues
                                                                                                         that remain after satisfying scheduled debt service require-
                                                                                                         ments on the project obligations and secured loan and
                                                                                                         all deposit requirements under the terms of any trust
                                                                                                         agreement, bond resolution, or similar agreement securing
                                                                                                         project obligations may be applied annually to prepay the
                                                                                                         secured loan, without penalty.
                                                                                                               ‘‘(B) USE OF PROCEEDS OF REFINANCING.—A secured
                                                                                                         loan may be prepaid at any time without penalty from
                                                                                                         the proceeds of refinancing from non-Federal funding
                                                                                                         sources.
                                                                                                   ‘‘(d) SALE OF SECURED LOANS.—
                                                                                                         ‘‘(1) IN GENERAL.—Subject to paragraph (2), as soon as
                                                                                                   practicable after substantial completion of a project and after
                                                                                                   notifying the obligor, the Secretary may sell to another entity
                                                                                                   or reoffer into the capital markets a secured loan for the project
                                                                                                   if the Secretary determines that the sale or reoffering can
                                                                                                   be made on favorable terms.
                                                                                                         ‘‘(2) CONSENT OF OBLIGOR.—In making a sale or reoffering
                                                                                                   under paragraph (1), the Secretary may not change any original
                                                                                                   term or condition of the secured loan without the written con-
                                                                                                   sent of the obligor.
                                                                                                   ‘‘(e) LOAN GUARANTEES.—
                                                                                                         ‘‘(1) IN GENERAL.—The Secretary may provide a loan guar-
                                                                                                   antee to a lender in lieu of making a secured loan under
                                                                                                   this section if the Secretary determines that the budgetary
                                                                                                   cost of the loan guarantee is substantially the same as, or
                                                                                                   less than, that of a secured loan.
                                                                                                         ‘‘(2) TERMS.—The terms of a loan guarantee under para-
                                                                                                   graph (1) shall be consistent with the terms required under
                                                                                                   this section for a secured loan, except that the rate on the
                                                                                                   guaranteed loan and any prepayment features shall be nego-
                                                                                                   tiated between the obligor and the lender, with the consent
                                                                                                   of the Secretary.
                                                                    42 USC 16374.           ‘‘SEC. 999D. FUTURE GROWTH GRANTS.
                                                                                                 ‘‘(a) ESTABLISHMENT.—The Secretary may provide grants to
                                                                                            pay a portion of the cost differential, with respect to any projected
                                                                                            future increase in demand for carbon dioxide transportation by
                                                                                            an infrastructure project described in subsection (b), between—
                                                                                                       ‘‘(1) the cost of constructing the infrastructure asset with
                                                                                                 the capacity to transport an increased flow rate of carbon
                                                                                                 dioxide, as made practicable under the project; and
                                                                                                       ‘‘(2) the cost of constructing the infrastructure asset with
                                                                                                 the capacity to transport carbon dioxide at the flow rate initially
                                                                                                 required, based on commitments for the use of the asset.
                                                                                                 ‘‘(b) ELIGIBILITY.—To be eligible to receive a grant under this
                                                                                            section, an entity shall—
                                                                                                       ‘‘(1) be eligible to receive credit assistance under the CIFIA
                                                                                                 program;
                                                                                                       ‘‘(2) carry out, or propose to carry out, a project for large-
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                 capacity, common carrier infrastructure with a probable future
                                                                                                 increase in demand for carbon dioxide transportation; and




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00570   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A013
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 42 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                                 135 STAT. 999

                                                                               ‘‘(3) submit to the Secretary an application at such time,
                                                                         in such manner, and containing such information as the Sec-
                                                                         retary determines to be appropriate.
                                                                         ‘‘(c) USE OF FUNDS.—A grant provided under this section may
                                                                    be used only to pay the costs of any additional flow rate capacity
                                                                    of a carbon dioxide transportation infrastructure asset that the
                                                                    project sponsor demonstrates to the satisfaction of the Secretary
                                                                    can reasonably be expected to be used during the 20-year period
                                                                    beginning on the date of substantial completion of the project
                                                                    described in subsection (b)(2).
                                                                         ‘‘(d) MAXIMUM AMOUNT.—The amount of a grant provided under
                                                                    this section may not exceed an amount equal to 80 percent of
                                                                    the cost of the additional capacity described in subsection (a).
                                                                    ‘‘SEC. 999E. PROGRAM ADMINISTRATION.                                                                  42 USC 16375.
                                                                         ‘‘(a) REQUIREMENT.—The Secretary shall establish a uniform
                                                                    system to service the Federal credit instruments provided under
                                                                    the CIFIA program.
                                                                         ‘‘(b) FEES.—If funding sufficient to cover the costs of services
                                                                    of expert firms retained pursuant to subsection (d) and all or
                                                                    a portion of the costs to the Federal Government of servicing the
                                                                    Federal credit instruments is not provided in an appropriations
                                                                    Act for a fiscal year, the Secretary, during that fiscal year, may
                                                                    collect fees on or after the date of the financial close of a Federal
                                                                    credit instrument provided under the CIFIA program at a level
                                                                    that is sufficient to cover those costs.
                                                                         ‘‘(c) SERVICER.—
                                                                               ‘‘(1) IN GENERAL.—The Secretary may appoint a financial
                                                                         entity to assist the Secretary in servicing the Federal credit
                                                                         instruments.
                                                                               ‘‘(2) DUTIES.—A servicer appointed under paragraph (1)
                                                                         shall act as the agent for the Secretary.
                                                                               ‘‘(3) FEE.—A servicer appointed under paragraph (1) shall
                                                                         receive a servicing fee, subject to approval by the Secretary.
                                                                         ‘‘(d) ASSISTANCE FROM EXPERT FIRMS.—The Secretary may
                                                                    retain the services of expert firms, including counsel, in the field
                                                                    of municipal and project finance to assist in the underwriting and
                                                                    servicing of Federal credit instruments.
                                                                         ‘‘(e) EXPEDITED PROCESSING.—The Secretary shall implement
                                                                    procedures and measures to economize the time and cost involved
                                                                    in obtaining approval and the issuance of credit assistance under
                                                                    the CIFIA program.
                                                                    ‘‘SEC. 999F. STATE AND LOCAL PERMITS.                                                                 42 USC 16376.
                                                                        ‘‘The provision of credit assistance under the CIFIA program
                                                                    with respect to a project shall not—
                                                                             ‘‘(1) relieve any recipient of the assistance of any project
                                                                        obligation to obtain any required State or local permit or
                                                                        approval with respect to the project;
                                                                             ‘‘(2) limit the right of any unit of State or local government
                                                                        to approve or regulate any rate of return on private equity
                                                                        invested in the project; or
                                                                             ‘‘(3) otherwise supersede any State or local law (including
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                        any regulation) applicable to the construction or operation of
                                                                        the project.




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00571   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                          A014
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 43 of 56




                                                                    135 STAT. 1000                             PUBLIC LAW 117–58—NOV. 15, 2021
                                                                    42 USC 16377.           ‘‘SEC. 999G. REGULATIONS.
                                                                                                ‘‘The Secretary may promulgate such regulations as the Sec-
                                                                                            retary determines to be appropriate to carry out the CIFIA program.
                                                                    42 USC 16378.           ‘‘SEC.     999H. AUTHORIZATION                  OF     APPROPRIATIONS;           CONTRACT
                                                                                                            AUTHORITY.
                                                                                                ‘‘(a) AUTHORIZATION OF APPROPRIATIONS.—
                                                                    Time periods.                     ‘‘(1) IN GENERAL.—There are authorized to be appropriated
                                                                                                to the Secretary to carry out this subtitle—
                                                                                                            ‘‘(A) $600,000,000 for each of fiscal years 2022 and
                                                                                                      2023; and
                                                                                                            ‘‘(B) $300,000,000 for each of fiscal years 2024 through
                                                                                                      2026.
                                                                                                      ‘‘(2) SPENDING AND BORROWING AUTHORITY.—Spending and
                                                                                                borrowing authority for a fiscal year to enter into Federal
                                                                                                credit instruments shall be promptly apportioned to the Sec-
                                                                                                retary on a fiscal-year basis.
                                                                                                      ‘‘(3) REESTIMATES.—If the subsidy amount of a Federal
                                                                                                credit instrument is reestimated, the cost increase or decrease
                                                                                                of the reestimate shall be borne by, or benefit, the general
                                                                                                fund of the Treasury, consistent with section 504(f) of the
                                                                                                Congressional Budget Act of 1974 (2 U.S.C. 661c(f)).
                                                                                                      ‘‘(4) ADMINISTRATIVE COSTS.—Of the amounts made avail-
                                                                                                able to carry out the CIFIA program, the Secretary may use
                                                                                                not more than $9,000,000 (as indexed for United States dollar
                                                                                                inflation from the date of enactment of the Infrastructure
                                                                                                Investment and Jobs Act (as measured by the Consumer Price
                                                                                                Index)) each fiscal year for the administration of the CIFIA
                                                                                                program.
                                                                                                ‘‘(b) CONTRACT AUTHORITY.—
                                                                                                      ‘‘(1) IN GENERAL.—Notwithstanding any other provision of
                                                                                                law, execution of a term sheet by the Secretary of a Federal
                                                                                                credit instrument that uses amounts made available under
                                                                                                the CIFIA program shall impose on the United States a contrac-
                                                                                                tual obligation to fund the Federal credit investment.
                                                                                                      ‘‘(2) AVAILABILITY.—Amounts made available to carry out
                                                                                                the CIFIA program for a fiscal year shall be available for
                                                                                                obligation on October 1 of the fiscal year.’’.
                                                                                                (b) TECHNICAL AMENDMENTS.—The table of contents for the
                                                                                            Energy Policy Act of 2005 (Public Law 109–58; 119 Stat. 600)
                                                                                            is amended—
                                                                                                      (1) in the item relating to section 917, by striking ‘‘Effi-
                                                                                                ciency’’;
                                                                                                      (2) by striking the items relating to subtitle J of title
                                                                                                IX (relating to ultra-deepwater and unconventional natural gas
                                                                                                and other petroleum resources) and inserting the following:
                                                                                              ‘‘Subtitle J—Carbon Dioxide Transportation Infrastructure Finance and Innovation
                                                                                            ‘‘Sec. 999A. Definitions.
                                                                                            ‘‘Sec. 999B. Determination of eligibility and project selection.
                                                                                            ‘‘Sec. 999C. Secured loans.
                                                                                            ‘‘Sec. 999D. Future growth grants.
                                                                                            ‘‘Sec. 999E. Program administration.
                                                                                            ‘‘Sec. 999F. State and local permits.
                                                                                            ‘‘Sec. 999G. Regulations.
                                                                                            ‘‘Sec. 999H. Authorization of appropriations; contract authority.’’; and
                                                                                                       (3) by striking the item relating to section 969B and
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                   inserting the following:
                                                                                            ‘‘Sec. 969B. High efficiency turbines.’’.




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00572   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A015
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 44 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                             135 STAT. 1001
                                                                    SEC. 40305. CARBON STORAGE VALIDATION AND TESTING.
                                                                        Section 963 of the Energy Policy Act of 2005 (42 U.S.C. 16293)
                                                                    is amended—
                                                                              (1) in subsection (a)(1)(B), by striking ‘‘over a 10-year
                                                                        period’’;
                                                                              (2) in subsection (b)—
                                                                                    (A) in paragraph (1), by striking ‘‘and demonstration’’
                                                                              and inserting ‘‘demonstration, and commercialization’’; and
                                                                                    (B) in paragraph (2)—
                                                                                          (i) in subparagraph (G), by striking ‘‘and’’ at the
                                                                                    end;
                                                                                          (ii) in subparagraph (H), by striking the period
                                                                                    at the end and inserting ‘‘; and’’; and
                                                                                          (iii) by adding at the end the following:
                                                                                                 ‘‘(I) evaluating the quantity, location, and
                                                                                          timing of geologic carbon storage deployment that
                                                                                          may be needed, and developing strategies and
                                                                                          resources to enable the deployment.’’;
                                                                              (3) by redesignating subsections (e) through (g) as sub-
                                                                        sections (f) through (h), respectively;
                                                                              (4) by inserting after subsection (d) the following:
                                                                        ‘‘(e) LARGE-SCALE CARBON STORAGE COMMERCIALIZATION PRO-
                                                                    GRAM.—
                                                                              ‘‘(1) IN GENERAL.—The Secretary shall establish a commer-
                                                                        cialization program under which the Secretary shall provide
                                                                        funding for the development of new or expanded commercial
                                                                        large-scale carbon sequestration projects and associated carbon
                                                                        dioxide transport infrastructure, including funding for the feasi-
                                                                        bility, site characterization, permitting, and construction stages
                                                                        of project development.
                                                                              ‘‘(2) APPLICATIONS; SELECTION.—
                                                                                    ‘‘(A) IN GENERAL.—To be eligible to enter into an agree-
                                                                              ment with the Secretary for funding under paragraph (1),
                                                                              an entity shall submit to the Secretary an application
                                                                              at such time, in such manner, and containing such informa-
                                                                              tion as the Secretary determines to be appropriate.
                                                                                    ‘‘(B) APPLICATION PROCESS.—The Secretary shall estab-
                                                                              lish an application process that, to the maximum extent
                                                                              practicable—
                                                                                          ‘‘(i) is open to projects at any stage of development
                                                                                    described in paragraph (1); and
                                                                                          ‘‘(ii) facilitates expeditious development of projects
                                                                                    described in that paragraph.
                                                                                    ‘‘(C) PROJECT SELECTION.—In selecting projects for
                                                                              funding under paragraph (1), the Secretary shall give pri-
                                                                              ority to—
                                                                                          ‘‘(i) projects with substantial carbon dioxide storage
                                                                                    capacity; or
                                                                                          ‘‘(ii) projects that will store carbon dioxide from
                                                                                    multiple carbon capture facilities.’’;
                                                                              (5) in subsection (f) (as so redesignated), in paragraph
                                                                        (1), by inserting ‘‘with respect to the research, development,
                                                                        demonstration program components described in subsections
                                                                        (b) through (d)’’ before ‘‘give preference’’; and
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                              (6) by striking subsection (h) (as so redesignated) and
                                                                        inserting the following:




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00573   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A016
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 45 of 56




                                                                    135 STAT. 1002                             PUBLIC LAW 117–58—NOV. 15, 2021

                                                                    Time period.                ‘‘(h) AUTHORIZATION OF APPROPRIATIONS.—There is authorized
                                                                                            to be appropriated to the Secretary to carry out this section
                                                                                            $2,500,000,000 for the period of fiscal years 2022 through 2026.’’.
                                                                    Time period.            SEC. 40306. SECURE GEOLOGIC STORAGE PERMITTING.
                                                                    42 USC 300h–9.
                                                                                                 (a) DEFINITIONS.—In this section:
                                                                                                      (1) ADMINISTRATOR.—The term ‘‘Administrator’’ means the
                                                                                                 Administrator of the Environmental Protection Agency.
                                                                                                      (2) CLASS VI WELL.—The term ‘‘Class VI well’’ means a
                                                                                                 well described in section 144.6(f) of title 40, Code of Federal
                                                                                                 Regulations (or successor regulations).
                                                                                                 (b) AUTHORIZATION OF APPROPRIATIONS FOR GEOLOGIC SEQUES-
                                                                                            TRATION PERMITTING.—There is authorized to be appropriated to
                                                                                            the Administrator for the permitting of Class VI wells by the
                                                                                            Administrator for the injection of carbon dioxide for the purpose
                                                                                            of geologic sequestration in accordance with the requirements of
                                                                                            the Safe Drinking Water Act (42 U.S.C. 300f et seq.) and the
                                                                                            final rule of the Administrator entitled ‘‘Federal Requirements
                                                                                            Under the Underground Injection Control (UIC) Program for Carbon
                                                                                            Dioxide (CO2) Geologic Sequestration (GS) Wells’’ (75 Fed. Reg.
                                                                                            77230 (December 10, 2010)), $5,000,000 for each of fiscal years
                                                                                            2022 through 2026.
                                                                                                 (c) STATE PERMITTING PROGRAM GRANTS.—
                                                                                                      (1) ESTABLISHMENT.—The Administrator shall award
                                                                                                 grants to States that, pursuant to section 1422 of the Safe
                                                                                                 Drinking Water Act (42 U.S.C. 300h–1), receive the approval
                                                                                                 of the Administrator for a State underground injection control
                                                                                                 program for permitting Class VI wells for the injection of carbon
                                                                                                 dioxide.
                                                                                                      (2) USE OF FUNDS.—A State that receives a grant under
                                                                                                 paragraph (1) shall use the amounts received under the grant
                                                                                                 to defray the expenses of the State related to the establishment
                                                                                                 and operation of a State underground injection control program
                                                                                                 described in paragraph (1).
                                                                                                      (3) AUTHORIZATION OF APPROPRIATIONS.—There is author-
                                                                                                 ized to be appropriated to the Administrator to carry out this
                                                                                                 subsection $50,000,000 for the period of fiscal years 2022
                                                                                                 through 2026.
                                                                                            SEC. 40307. GEOLOGIC CARBON SEQUESTRATION ON THE OUTER CON-
                                                                                                          TINENTAL SHELF.
                                                                                               (a) DEFINITIONS.—Section 2 of the Outer Continental Shelf
                                                                                            Lands Act (43 U.S.C. 1331) is amended—
                                                                                                     (1) in the matter preceding subsection (a), by striking
                                                                                               ‘‘When used in this Act—’’ and inserting ‘‘In this Act:’’;
                                                                                                     (2) in each subsection, by inserting a subsection heading,
                                                                                               the text of which is comprised of the term defined in the
                                                                                               subsection;
                                                                                                     (3) by striking the semicolon at the end of each subsection
                                                                                               (other than subsection (q)) and ‘‘; and’’ at the end of subsection
                                                                                               (p) and inserting a period; and
                                                                                                     (4) by adding at the end the following:
                                                                                               ‘‘(r) CARBON DIOXIDE STREAM.—
                                                                                                     ‘‘(1) IN GENERAL.—The term ‘carbon dioxide stream’ means
                                                                                               carbon dioxide that—
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                           ‘‘(A) has been captured; and
                                                                                                           ‘‘(B) consists overwhelmingly of—




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00574   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A017
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 46 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                             135 STAT. 1003

                                                                                          ‘‘(i) carbon dioxide plus incidental associated sub-
                                                                                     stances derived from the source material or capture
                                                                                     process; and
                                                                                          ‘‘(ii) any substances added to the stream for the
                                                                                     purpose of enabling or improving the injection process.
                                                                               ‘‘(2) EXCLUSIONS.—The term ‘carbon dioxide stream’ does
                                                                         not include additional waste or other matter added to the
                                                                         carbon dioxide stream for the purpose of disposal.
                                                                         ‘‘(s) CARBON SEQUESTRATION.—The term ‘carbon sequestration’
                                                                    means the act of storing carbon dioxide that has been removed
                                                                    from the atmosphere or captured through physical, chemical, or
                                                                    biological processes that can prevent the carbon dioxide from
                                                                    reaching the atmosphere.’’.
                                                                         (b) LEASES, EASEMENTS, OR RIGHTS-OF-WAY FOR ENERGY AND
                                                                    RELATED PURPOSES.—Section 8(p)(1) of the Outer Continental Shelf
                                                                    Lands Act (43 U.S.C. 1337(p)(1)) is amended—
                                                                               (1) in subparagraph (C), by striking ‘‘or’’ after the semi-
                                                                         colon;
                                                                               (2) in subparagraph (D), by striking the period at the
                                                                         end and inserting ‘‘; or’’; and
                                                                               (3) by adding at the end the following:
                                                                                     ‘‘(E) provide for, support, or are directly related to
                                                                               the injection of a carbon dioxide stream into sub-seabed
                                                                               geologic formations for the purpose of long-term carbon
                                                                               sequestration.’’.
                                                                         (c) CLARIFICATION.—A carbon dioxide stream injected for the                                      43 USC 1337
                                                                    purpose of carbon sequestration under subparagraph (E) of section                                     note.
                                                                    8(p)(1) of the Outer Continental Shelf Lands Act (43 U.S.C.
                                                                    1337(p)(1)) shall not be considered to be material (as defined in
                                                                    section 3 of the Marine Protection, Research, and Sanctuaries Act
                                                                    of 1972 (33 U.S.C. 1402)) for purposes of that Act (33 U.S.C.
                                                                    1401 et seq.).
                                                                         (d) REGULATIONS.—Not later than 1 year after the date of                                         Deadline.
                                                                    enactment of this Act, the Secretary of the Interior shall promulgate                                 43 USC 1331
                                                                                                                                                                          note.
                                                                    regulations to carry out the amendments made by this section.
                                                                    SEC. 40308. CARBON REMOVAL.
                                                                        (a) IN GENERAL.—Section 969D of the Energy Policy Act of
                                                                    2005 (42 U.S.C. 16298d) is amended—
                                                                              (1) by redesignating subsection (j) as subsection (k); and
                                                                              (2) by inserting after subsection (i) the following:
                                                                        ‘‘(j) REGIONAL DIRECT AIR CAPTURE HUBS.—
                                                                              ‘‘(1) DEFINITIONS.—In this subsection:
                                                                                    ‘‘(A) ELIGIBLE PROJECT.—The term ‘eligible project’
                                                                              means a direct air capture project or a component project
                                                                              of a regional direct air capture hub.
                                                                                    ‘‘(B) REGIONAL DIRECT AIR CAPTURE HUB.—The term
                                                                              ‘regional direct air capture hub’ means a network of direct
                                                                              air capture projects, potential carbon dioxide utilization
                                                                              off-takers, connective carbon dioxide transport infrastruc-
                                                                              ture, subsurface resources, and sequestration infrastruc-
                                                                              ture located within a region.
                                                                              ‘‘(2) ESTABLISHMENT OF PROGRAM.—
                                                                                    ‘‘(A) IN GENERAL.—The Secretary shall establish a pro-
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                              gram under which the Secretary shall provide funding for
                                                                              eligible projects that contribute to the development of 4




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00575   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A018
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 47 of 56




                                                                    135 STAT. 1004                             PUBLIC LAW 117–58—NOV. 15, 2021

                                                                                                        regional direct air capture hubs described in subparagraph
                                                                                                        (B).
                                                                                                              ‘‘(B) REGIONAL DIRECT AIR CAPTURE HUBS.—Each of
                                                                                                        the 4 regional direct air capture hubs developed under
                                                                                                        the program under subparagraph (A) shall be a regional
                                                                                                        direct air capture hub that—
                                                                                                                    ‘‘(i) facilitates the deployment of direct air capture
                                                                                                              projects;
                                                                                                                    ‘‘(ii) has the capacity to capture and sequester,
                                                                                                              utilize, or sequester and utilize at least 1,000,000
                                                                                                              metric tons of carbon dioxide from the atmosphere
                                                                                                              annually from a single unit or multiple interconnected
                                                                                                              units;
                                                                                                                    ‘‘(iii) demonstrates the capture, processing,
                                                                                                              delivery, and sequestration or end-use of captured
                                                                                                              carbon; and
                                                                                                                    ‘‘(iv) could be developed into a regional or inter-
                                                                                                              regional carbon network to facilitate sequestration or
                                                                                                              carbon utilization.
                                                                                                        ‘‘(3) SELECTION OF PROJECTS.—
                                                                                                              ‘‘(A) SOLICITATION OF PROPOSALS.—
                                                                    Deadline.                                       ‘‘(i) IN GENERAL.—Not later than 180 days after
                                                                                                              the date of enactment of the Infrastructure Investment
                                                                                                              and Jobs Act, the Secretary shall solicit applications
                                                                                                              for funding for eligible projects.
                                                                                                                    ‘‘(ii) ADDITIONAL SOLICITATIONS.—The Secretary
                                                                                                              shall solicit applications for funding for eligible projects
                                                                                                              on a recurring basis after the first round of applications
                                                                                                              is received under clause (i) until all amounts appro-
                                                                                                              priated to carry out this subsection are expended.
                                                                    Deadline.                                 ‘‘(B) SELECTION OF PROJECTS FOR THE DEVELOPMENT
                                                                                                        OF REGIONAL DIRECT AIR CAPTURE HUBS.—Not later than
                                                                                                        3 years after the date of the deadline for the submission
                                                                                                        of proposals under subparagraph (A)(i), the Secretary shall
                                                                                                        select eligible projects described in paragraph (2)(A).
                                                                                                              ‘‘(C) CRITERIA.—The Secretary shall select eligible
                                                                                                        projects under subparagraph (B) using the following cri-
                                                                                                        teria:
                                                                                                                    ‘‘(i) CARBON INTENSITY OF LOCAL INDUSTRY.—To
                                                                                                              the maximum extent practicable, each eligible project
                                                                                                              shall be located in a region with—
                                                                                                                           ‘‘(I) existing carbon-intensive fuel production
                                                                                                                    or industrial capacity; or
                                                                    Time period.                                           ‘‘(II) carbon-intensive fuel production or indus-
                                                                                                                    trial capacity that has retired or closed in the
                                                                                                                    preceding 10 years.
                                                                                                                    ‘‘(ii) GEOGRAPHIC DIVERSITY.—To the maximum
                                                                                                              extent practicable, eligible projects shall contribute to
                                                                                                              the development of regional direct air capture hubs
                                                                                                              located in different regions of the United States.
                                                                                                                    ‘‘(iii) CARBON POTENTIAL.—To the maximum extent
                                                                                                              practicable, eligible projects shall contribute to the
                                                                                                              development of regional direct air capture hubs located
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                                              in regions with high potential for carbon sequestration
                                                                                                              or utilization.




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00576   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                        A019
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 48 of 56




                                                                                        PUBLIC LAW 117–58—NOV. 15, 2021                                             135 STAT. 1005

                                                                                          ‘‘(iv) HUBS IN FOSSIL-PRODUCING REGIONS.—To the
                                                                                     maximum extent practicable, eligible projects shall con-
                                                                                     tribute to the development of at least 2 regional direct
                                                                                     air capture hubs located in economically distressed
                                                                                     communities in the regions of the United States with
                                                                                     high levels of coal, oil, or natural gas resources.
                                                                                          ‘‘(v) SCALABILITY.—The Secretary shall give pri-
                                                                                     ority to eligible projects that, as compared to other
                                                                                     eligible projects, will contribute to the development
                                                                                     of regional direct air capture hubs with larger initial
                                                                                     capacity, greater potential for expansion, and lower
                                                                                     levelized cost per ton of carbon dioxide removed from
                                                                                     the atmosphere.
                                                                                          ‘‘(vi) EMPLOYMENT.—The Secretary shall give pri-
                                                                                     ority to eligible projects that are likely to create
                                                                                     opportunities for skilled training and long-term
                                                                                     employment to the greatest number of residents of
                                                                                     the region.
                                                                                          ‘‘(vii) ADDITIONAL CRITERIA.—The Secretary may
                                                                                     take into consideration other criteria that, in the judg-
                                                                                     ment of the Secretary, are necessary or appropriate
                                                                                     to carry out this subsection.
                                                                                     ‘‘(D) COORDINATION.—To the maximum extent prac-
                                                                               ticable, in carrying out the program under this subsection,
                                                                               the Secretary shall take into account and coordinate with
                                                                               activities of the carbon capture technology program estab-
                                                                               lished under section 962(b)(1), the carbon storage validation
                                                                               and testing program established under section 963(b)(1),
                                                                               and the CIFIA program established under section 999B(a)
                                                                               such that funding from each of the programs is leveraged
                                                                               to contribute toward the development of integrated regional
                                                                               and interregional carbon capture, removal, transport,
                                                                               sequestration, and utilization networks.
                                                                                     ‘‘(E) FUNDING OF ELIGIBLE PROJECTS.—The Secretary                                    Grants.
                                                                               may make grants to, or enter into cooperative agreements                                   Contracts.
                                                                               or contracts with, each eligible project selected under
                                                                               subparagraph (B) to accelerate commercialization of, and
                                                                               demonstrate the removal, processing, transport, sequestra-
                                                                               tion, and utilization of, carbon dioxide captured from the
                                                                               atmosphere.
                                                                               ‘‘(4) AUTHORIZATION OF APPROPRIATIONS.—There is author-                                    Time period.
                                                                           ized to be appropriated to the Secretary to carry out this
                                                                           subsection $3,500,000,000 for the period of fiscal years 2022
                                                                           through 2026, to remain available until expended.’’.

                                                                             Subtitle B—Hydrogen Research and
                                                                                        Development
                                                                    SEC. 40311. FINDINGS; PURPOSE.                                                                        42 USC 16151
                                                                                                                                                                          note.
                                                                           (a) FINDINGS.—Congress finds that—
                                                                                (1) hydrogen plays a critical part in the comprehensive
                                                                           energy portfolio of the United States;
whamilton on LAPJF8D0R2PROD with PUBLAW




                                                                                (2) the use of the hydrogen resources of the United States—
                                                                                     (A) promotes energy security and resilience; and




                                          VerDate Sep 11 2014   12:21 Jan 03, 2022   Jkt 029139   PO 00058   Frm 00577   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL058.117   PUBL058
                                                                                                                                                                                         A020
                                                      USCA Case #24-1120                            Document #2059515                               Filed: 06/12/2024              Page 49 of 56




                                                                    136 STAT. 1924                            PUBLIC LAW 117–169—AUG. 16, 2022

                                                                                                           for such calendar year, subject to the limitation
                                                                                                           imposed by the last sentence of such subparagraph.
                                                                    Regulations.                     ‘‘(5) RECAPTURE.—The Secretary shall, by regulations or
                                                                    Guidelines.                 other guidance, provide for recapturing the benefit of any
                                                                                                increase in the credit allowed under subsection (a) by reason
                                                                                                of this subsection with respect to any property which ceases
                                                                                                to be property eligible for such increase (but which does not
                                                                                                cease to be investment credit property within the meaning
                                                                    Determination.              of section 50(a)). The period and percentage of such recapture
                                                                    Time period.                shall be determined under rules similar to the rules of section
                                                                                                50(a). To the extent provided by the Secretary, such recapture
                                                                                                may not apply with respect to any property if, within 12 months
                                                                                                after the date the taxpayer becomes aware (or reasonably
                                                                                                should have become aware) of such property ceasing to be
                                                                                                property eligible for such increase, the eligibility of such prop-
                                                                                                erty for such increase is restored. The preceding sentence shall
                                                                                                not apply more than once with respect to any facility.’’.
                                                                    26 USC 48 note.             (b) EFFECTIVE DATE.—The amendments made by this section
                                                                                            shall take effect on January 1, 2023.
                                                                                            SEC. 13104. EXTENSION AND MODIFICATION OF CREDIT FOR CARBON
                                                                                                          OXIDE SEQUESTRATION.
                                                                                                   (a) MODIFICATION                 OF   CARBON OXIDE CAPTURE REQUIRE-
                                                                                            MENTS.—
                                                                    26 USC 45Q.                       (1) IN GENERAL.—Section 45Q(d) is amended to read as
                                                                                                follows:
                                                                    Definition.                 ‘‘(d) QUALIFIED FACILITY.—For purposes of this section, the
                                                                                            term ‘qualified facility’ means any industrial facility or direct air
                                                                                            capture facility—
                                                                    Effective date.                   ‘‘(1) the construction of which begins before January 1,
                                                                                                2033, and either—
                                                                                                            ‘‘(A) construction of carbon capture equipment begins
                                                                                                      before such date, or
                                                                                                            ‘‘(B) the original planning and design for such facility
                                                                                                      includes installation of carbon capture equipment, and
                                                                                                      ‘‘(2) which—
                                                                                                            ‘‘(A) in the case of a direct air capture facility, captures
                                                                                                      not less than 1,000 metric tons of qualified carbon oxide
                                                                                                      during the taxable year,
                                                                                                            ‘‘(B) in the case of an electricity generating facility—
                                                                                                                  ‘‘(i) captures not less than 18,750 metric tons of
                                                                                                            qualified carbon oxide during the taxable year, and
                                                                                                                  ‘‘(ii) with respect to any carbon capture equipment
                                                                                                            for the applicable electric generating unit at such
                                                                                                            facility, has a capture design capacity of not less than
                                                                                                            75 percent of the baseline carbon oxide production
                                                                                                            of such unit, or
                                                                                                            ‘‘(C) in the case of any other facility, captures not
                                                                                                      less than 12,500 metric tons of qualified carbon oxide
                                                                                                      during the taxable year.’’.
                                                                                                      (2) DEFINITIONS.—
                                                                                                            (A) IN GENERAL.—Section 45Q(e) is amended—
                                                                                                                  (i) by redesignating paragraphs (1) through (3)
                                                                                                            as paragraphs (3) through (5), respectively, and
                                                                                                                  (ii) by inserting after ‘‘For purposes of this sec-
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                                                            tion—’’ the following new paragraphs:




                                          VerDate Sep 11 2014   13:57 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00108   Fmt 6580    Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                         A021
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 50 of 56




                                                                                       PUBLIC LAW 117–169—AUG. 16, 2022                                             136 STAT. 1925

                                                                            ‘‘(1) APPLICABLE ELECTRIC GENERATING UNIT.—The term
                                                                       ‘applicable electric generating unit’ means the principal electric
                                                                       generating unit for which the carbon capture equipment is
                                                                       originally planned and designed.
                                                                            ‘‘(2) BASELINE CARBON OXIDE PRODUCTION.—
                                                                                  ‘‘(A) IN GENERAL.—The term ‘baseline carbon oxide                                       Time periods.
                                                                            production’ means either of the following:
                                                                                       ‘‘(i) In the case of an applicable electric generating
                                                                                  unit which was originally placed in service more than
                                                                                  1 year prior to the date on which construction of the
                                                                                  carbon capture equipment begins, the average annual
                                                                                  carbon oxide production, by mass, from such unit
                                                                                  during—
                                                                                              ‘‘(I) in the case of an applicable electric gener-
                                                                                       ating unit which was originally placed in service
                                                                                       more than 1 year prior to the date on which
                                                                                       construction of the carbon capture equipment
                                                                                       begins and on or after the date which is 3 years
                                                                                       prior to the date on which construction of such
                                                                                       equipment begins, the period beginning on the date
                                                                                       such unit was placed in service and ending on
                                                                                       the date on which construction of such equipment
                                                                                       began, and
                                                                                              ‘‘(II) in the case of an applicable electric gener-
                                                                                       ating unit which was originally placed in service
                                                                                       more than 3 years prior to the date on which
                                                                                       construction of the carbon capture equipment
                                                                                       begins, the 3 years with the highest annual carbon
                                                                                       oxide production during the 12-year period pre-
                                                                                       ceding the date on which construction of such
                                                                                       equipment began.
                                                                                       ‘‘(ii) In the case of an applicable electric generating
                                                                                  unit which—
                                                                                              ‘‘(I) as of the date on which construction of
                                                                                       the carbon capture equipment begins, is not yet
                                                                                       placed in service, or
                                                                                              ‘‘(II) was placed in service during the 1-year
                                                                                       period prior to the date on which construction of
                                                                                       the carbon capture equipment begins,
                                                                                  the designed annual carbon oxide production, by mass,
                                                                                  as determined based on an assumed capacity factor
                                                                                  of 60 percent.
                                                                                  ‘‘(B) CAPACITY FACTOR.—The term ‘capacity factor’
                                                                            means the ratio (expressed as a percentage) of the actual
                                                                            electric output from the applicable electric generating unit
                                                                            to the potential electric output from such unit.’’.
                                                                                  (B) CONFORMING AMENDMENT.—Section 142(o)(1)(B) is                                       26 USC 142.
                                                                            amended by striking ‘‘section 45Q(e)(1)’’ and inserting ‘‘sec-
                                                                            tion 45Q(e)(3)’’.
                                                                       (b)     MODIFIED          APPLICABLE       DOLLAR     AMOUNT.—Section
                                                                    45Q(b)(1)(A) is amended—
                                                                            (1) in clause (i)—
                                                                                  (A) in subclause (I), by striking ‘‘the dollar amount’’
                                                                            and all that follows through ‘‘such period’’ and inserting
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                            ‘‘$17’’, and




                                          VerDate Sep 11 2014   13:57 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00109   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                          A022
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 51 of 56




                                                                    136 STAT. 1926                            PUBLIC LAW 117–169—AUG. 16, 2022

                                                                                                            (B) in subclause (II), by striking ‘‘the dollar amount’’
                                                                                                      and all that follows through ‘‘such period’’ and inserting
                                                                                                      ‘‘$12’’, and
                                                                                                      (2) in clause (ii)—
                                                                                                            (A) in subclause (I), by striking ‘‘$50’’ and inserting
                                                                                                      ‘‘$17’’, and
                                                                                                            (B) in subclause (II), by striking ‘‘$35’’ and inserting
                                                                                                      ‘‘$12’’.
                                                                                                (c) DETERMINATION OF APPLICABLE DOLLAR AMOUNT.—
                                                                    Effective dates.                  (1) IN GENERAL.—Section 45Q(b)(1), as amended by the
                                                                    26 USC 45Q.                 preceding provisions of this Act, is amended—
                                                                                                            (A) by redesignating subparagraph (B) as subpara-
                                                                                                      graph (D), and
                                                                                                            (B) by inserting after subparagraph (A) the following
                                                                                                      new subparagraphs:
                                                                                                            ‘‘(B) SPECIAL RULE FOR DIRECT AIR CAPTURE FACILI-
                                                                                                      TIES.—In the case of any qualified facility described in
                                                                                                      subsection (d)(2)(A) which is placed in service after
                                                                                                      December 31, 2022, the applicable dollar amount shall
                                                                                                      be an amount equal to the applicable dollar amount other-
                                                                                                      wise determined with respect to such qualified facility
                                                                                                      under subparagraph (A), except that such subparagraph
                                                                                                      shall be applied—
                                                                                                                 ‘‘(i) by substituting ‘$36’ for ‘$17’ each place it
                                                                                                            appears, and
                                                                                                                 ‘‘(ii) by substituting ‘$26’ for ‘$12’ each place it
                                                                                                            appears.
                                                                                                            ‘‘(C) APPLICABLE DOLLAR AMOUNT FOR ADDITIONAL
                                                                                                      CARBON CAPTURE EQUIPMENT.—In the case of any qualified
                                                                                                      facility which is placed in service before January 1, 2023,
                                                                                                      if any additional carbon capture equipment is installed
                                                                                                      at such facility and such equipment is placed in service
                                                                                                      after December 31, 2022, the applicable dollar amount
                                                                                                      shall be an amount equal to the applicable dollar amount
                                                                                                      otherwise determined under this paragraph, except that
                                                                                                      subparagraph (B) shall be applied—
                                                                                                                 ‘‘(i) by substituting ‘before January 1, 2023’ for
                                                                                                            ‘after December 31, 2022’, and
                                                                                                                 ‘‘(ii) by substituting ‘the additional carbon capture
                                                                                                            equipment installed at such qualified facility’ for ‘such
                                                                                                            qualified facility’.’’.
                                                                                                      (2) CONFORMING AMENDMENTS.—
                                                                                                            (A) Section 45Q(b)(1)(A) is amended by striking ‘‘The
                                                                                                      applicable dollar amount’’ and inserting ‘‘Except as pro-
                                                                                                      vided in subparagraph (B) or (C), the applicable dollar
                                                                                                      amount’’.
                                                                                                            (B) Section 45Q(b)(1)(D), as redesignated by paragraph
                                                                                                      (1)(A), is amended by striking ‘‘subparagraph (A)’’ and
                                                                                                      inserting ‘‘subparagraph (A), (B), or (C)’’.
                                                                                                (d) WAGE AND APPRENTICESHIP REQUIREMENTS.—Section 45Q
                                                                                            is amended by redesignating subsection (h) as subsection (i) and
                                                                                            inserting after subsection (g) following new subsection:
                                                                                                ‘‘(h) INCREASED CREDIT AMOUNT FOR QUALIFIED FACILITIES AND
                                                                                            CARBON CAPTURE EQUIPMENT.—
                                                                                                      ‘‘(1) IN GENERAL.—In the case of any qualified facility or
                                                                                                any carbon capture equipment which satisfy the requirements
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                                                of paragraph (2), the amount of the credit determined under




                                          VerDate Sep 11 2014   13:57 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00110   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                        A023
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024               Page 52 of 56




                                                                                       PUBLIC LAW 117–169—AUG. 16, 2022                                             136 STAT. 1927

                                                                           subsection (a) shall be equal to such amount (determined with-
                                                                           out regard to this sentence) multiplied by 5.
                                                                                ‘‘(2) REQUIREMENTS.—The requirements described in this                                    Time periods.
                                                                           paragraph are that—                                                                            Publication.
                                                                                                                                                                          Guidelines.
                                                                                      ‘‘(A) with respect to any qualified facility the construc-
                                                                                tion of which begins on or after the date that is 60 days
                                                                                after the Secretary publishes guidance with respect to the
                                                                                requirements of paragraphs (3)(A) and (4), as well as any
                                                                                carbon capture equipment placed in service at such
                                                                                facility—
                                                                                            ‘‘(i) subject to subparagraph (B) of paragraph (3),
                                                                                      the taxpayer satisfies the requirements under subpara-
                                                                                      graph (A) of such paragraph with respect to such
                                                                                      facility and equipment, and
                                                                                            ‘‘(ii) the taxpayer satisfies the requirements under
                                                                                      paragraph (4) with respect to the construction of such
                                                                                      facility and equipment,
                                                                                      ‘‘(B) with respect to any carbon capture equipment
                                                                                the construction of which begins on or after the date that
                                                                                is 60 days after the Secretary publishes guidance with
                                                                                respect to the requirements of paragraphs (3)(A) and (4),
                                                                                and which is installed at a qualified facility the construction
                                                                                of which began prior to such date—
                                                                                            ‘‘(i) subject to subparagraph (B) of paragraph (3),
                                                                                      the taxpayer satisfies the requirements under subpara-
                                                                                      graph (A) of such paragraph with respect to such equip-
                                                                                      ment, and
                                                                                            ‘‘(ii) the taxpayer satisfies the requirements under
                                                                                      paragraph (4) with respect to the construction of such
                                                                                      equipment, or
                                                                                      ‘‘(C) the construction of carbon capture equipment
                                                                                begins prior to the date that is 60 days after the Secretary
                                                                                publishes guidance with respect to the requirements of
                                                                                paragraphs (3)(A) and (4), and such equipment is installed
                                                                                at a qualified facility the construction of which begins
                                                                                prior to such date.
                                                                                ‘‘(3) PREVAILING WAGE REQUIREMENTS.—                                                      Applicability.
                                                                                      ‘‘(A) IN GENERAL.—The requirements described in this
                                                                                subparagraph with respect to any qualified facility and
                                                                                any carbon capture equipment placed in service at such
                                                                                facility are that the taxpayer shall ensure that any laborers
                                                                                and mechanics employed by the taxpayer or any contractor
                                                                                or subcontractor in—
                                                                                            ‘‘(i) the construction of such facility or equipment,
                                                                                      and
                                                                                            ‘‘(ii) with respect to any taxable year, for any por-
                                                                                      tion of such taxable year which is within the period
                                                                                      described in paragraph (3)(A) or (4)(A) of subsection
                                                                                      (a), the alteration or repair of such facility or such
                                                                                      equipment,
                                                                                shall be paid wages at rates not less than the prevailing
                                                                                rates for construction, alteration, or repair of a similar
                                                                                character in the locality in which such facility and equip-
                                                                                ment are located as most recently determined by the Sec-
                                                                                retary of Labor, in accordance with subchapter IV of
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                                chapter 31 of title 40, United States Code. For purposes




                                          VerDate Sep 11 2014   13:57 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00111   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                           A024
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 53 of 56




                                                                    136 STAT. 1928                            PUBLIC LAW 117–169—AUG. 16, 2022

                                                                                                     of determining an increased credit amount under para-
                                                                                                     graph (1) for a taxable year, the requirement under clause
                                                                                                     (ii) of this subparagraph is applied to such taxable year
                                                                                                     in which the alteration or repair of qualified facility occurs.
                                                                                                           ‘‘(B) CORRECTION AND PENALTY RELATED TO FAILURE
                                                                                                     TO SATISFY WAGE REQUIREMENTS.—Rules similar to the
                                                                                                     rules of section 45(b)(7)(B) shall apply.
                                                                    Applicability.                   ‘‘(4) APPRENTICESHIP REQUIREMENTS.—Rules similar to the
                                                                                                rules of section 45(b)(8) shall apply.
                                                                    Determination.                   ‘‘(5) REGULATIONS AND GUIDANCE.—The Secretary shall
                                                                    Requirements.               issue such regulations or other guidance as the Secretary deter-
                                                                    Records.                    mines necessary to carry out the purposes of this subsection,
                                                                                                including regulations or other guidance which provides for
                                                                                                requirements for recordkeeping or information reporting for
                                                                                                purposes of administering the requirements of this subsection.’’.
                                                                    26 USC 45Q.                 (e) CREDIT REDUCED FOR TAX-EXEMPT BONDS.—Section 45Q(f)
                                                                                            is amended—
                                                                                                     (1) by striking the second paragraph (3), as added at the
                                                                                                end of such section by section 80402(e) of the Infrastructure
                                                                                                Investment and Jobs Act (Public Law 117-58), and
                                                                                                     (2) by adding at the end the following new paragraph:
                                                                    Applicability.                   ‘‘(8) CREDIT REDUCED FOR TAX-EXEMPT BONDS.—Rules
                                                                                                similar to the rule under section 45(b)(3) shall apply for pur-
                                                                                                poses of this section.’’.
                                                                                                (f) APPLICATION OF SECTION FOR CERTAIN CARBON CAPTURE
                                                                                            EQUIPMENT.—Section 45Q(g) is amended by inserting ‘‘the earlier
                                                                                            of January 1, 2023, and’’ before ‘‘the end of the calendar year’’.
                                                                                                (g) ELECTION.—Section 45Q(f), as amended by subsection (e),
                                                                                            is amended by adding at the end the following new paragraph:
                                                                    Time period.                     ‘‘(9) ELECTION.—For purposes of paragraphs (3) and (4)
                                                                                                of subsection (a), a person described in paragraph (3)(A)(ii)
                                                                                                may elect, at such time and in such manner as the Secretary
                                                                                                may prescribe, to have the 12–year period begin on the first
                                                                                                day of the first taxable year in which a credit under this
                                                                                                section is claimed with respect to carbon capture equipment
                                                                                                which is originally placed in service at a qualified facility on
                                                                                                or after the date of the enactment of the Bipartisan Budget
                                                                                                Act of 2018 (after application of paragraph (6), where
                                                                                                applicable) if—
                                                                                                           ‘‘(A) no taxpayer claimed a credit under this section
                                                                                                     with respect to such carbon capture equipment for any
                                                                                                     prior taxable year,
                                                                                                           ‘‘(B) the qualified facility at which such carbon capture
                                                                                                     equipment is placed in service is located in an area affected
                                                                                                     by a federally-declared disaster (as defined by section
                                                                                                     165(i)(5)(A)) after the carbon capture equipment is origi-
                                                                                                     nally placed in service, and
                                                                                                           ‘‘(C) such federally-declared disaster results in a ces-
                                                                                                     sation of the operation of the qualified facility or the carbon
                                                                                                     capture equipment after such equipment is originally
                                                                                                     placed in service.’’.
                                                                                                (h) REGULATIONS FOR BASELINE CARBON OXIDE PRODUCTION.—
                                                                                            Subsection (i) of section 45Q, as redesignated by subsection (d),
                                                                                            is amended—
                                                                                                     (1) in paragraph (1), by striking ‘‘and’’,
                                                                                                     (2) in paragraph (2), by striking the period at the end
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                                                and inserting ‘‘, and’’, and




                                          VerDate Sep 11 2014   13:57 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00112   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                        A025
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024               Page 54 of 56




                                                                                       PUBLIC LAW 117–169—AUG. 16, 2022                                             136 STAT. 1929

                                                                                (3) by adding at the end the following new paragraph:
                                                                                ‘‘(3) for purposes of subsection (d)(2)(B)(ii), adjust the base-
                                                                           line carbon oxide production with respect to any applicable
                                                                           electric generating unit at any electricity generating facility
                                                                           if, after the date on which the carbon capture equipment is
                                                                           placed in service, modifications which are chargeable to capital
                                                                           account are made to such unit which result in a significant
                                                                           increase or decrease in carbon oxide production.’’.
                                                                           (i) EFFECTIVE DATES.—                                                                          Applicability.
                                                                                (1) IN GENERAL.—Except as provided in paragraphs (2),                                     26 USC 45Q
                                                                           (3), and (4), the amendments made by this section shall apply                                  note.
                                                                           to facilities or equipment placed in service after December
                                                                           31, 2022.
                                                                                (2) MODIFICATION OF CARBON OXIDE CAPTURE REQUIRE-
                                                                           MENTS.—The amendments made by subsection (a) shall apply
                                                                           to facilities or equipment the construction of which begins after
                                                                           the date of enactment of this Act.
                                                                                (3) APPLICATION OF SECTION FOR CERTAIN CARBON CAPTURE
                                                                           EQUIPMENT.—The amendments made by subsection (f) shall
                                                                           take effect on the date of enactment of this Act.
                                                                                (4) ELECTION.—The amendments made by subsection (g)
                                                                           shall apply to carbon oxide captured and disposed of after
                                                                           December 31, 2021.
                                                                    SEC. 13105. ZERO-EMISSION NUCLEAR POWER PRODUCTION CREDIT.
                                                                         (a) IN GENERAL.—Subpart D of part IV of subchapter A of
                                                                    chapter 1 is amended by adding at the end the following new
                                                                    section:
                                                                    ‘‘SEC. 45U. ZERO-EMISSION NUCLEAR POWER PRODUCTION CREDIT.                                            26 USC 45U.
                                                                        ‘‘(a) AMOUNT OF CREDIT.—For purposes of section 38, the zero-
                                                                    emission nuclear power production credit for any taxable year is
                                                                    an amount equal to the amount by which—
                                                                              ‘‘(1) the product of—
                                                                                    ‘‘(A) 0.3 cents, multiplied by
                                                                                    ‘‘(B) the kilowatt hours of electricity—
                                                                                          ‘‘(i) produced by the taxpayer at a qualified nuclear
                                                                                    power facility, and
                                                                                          ‘‘(ii) sold by the taxpayer to an unrelated person
                                                                                    during the taxable year, exceeds
                                                                              ‘‘(2) the reduction amount for such taxable year.
                                                                        ‘‘(b) DEFINITIONS.—
                                                                              ‘‘(1) QUALIFIED NUCLEAR POWER FACILITY.—For purposes
                                                                        of this section, the term ‘qualified nuclear power facility’ means
                                                                        any nuclear facility—
                                                                                    ‘‘(A) which is owned by the taxpayer and which uses
                                                                              nuclear energy to produce electricity,
                                                                                    ‘‘(B) which is not an advanced nuclear power facility
                                                                              as defined in subsection (d)(1) of section 45J, and
                                                                                    ‘‘(C) which is placed in service before the date of the
                                                                              enactment of this section.
                                                                              ‘‘(2) REDUCTION AMOUNT.—
                                                                                    ‘‘(A) IN GENERAL.—For purposes of this section, the
                                                                              term ‘reduction amount’ means, with respect to any quali-
                                                                              fied nuclear power facility for any taxable year, the amount
                                                                              equal to the lesser of—
                                                                                          ‘‘(i) the amount determined under subsection (a)(1),
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                                    or




                                          VerDate Sep 11 2014   13:57 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00113   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                           A026
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 55 of 56




                                                                                       PUBLIC LAW 117–169—AUG. 16, 2022                                             136 STAT. 2069

                                                                    Treasury not otherwise appropriated, $5,000,000, to remain avail-
                                                                    able until September 30, 2031, to provide grants to States to adopt
                                                                    and implement greenhouse gas and zero-emission standards for
                                                                    mobile sources pursuant to section 177 of the Clean Air Act (42
                                                                    U.S.C. 7507).
                                                                         (h) DEFINITION OF GREENHOUSE GAS.—In this section, the term
                                                                    ‘‘greenhouse gas’’ means the air pollutants carbon dioxide,
                                                                    hydrofluorocarbons, methane, nitrous oxide, perfluorocarbons, and
                                                                    sulfur hexafluoride.
                                                                    SEC. 60106. FUNDING TO ADDRESS AIR POLLUTION AT SCHOOLS.
                                                                         (a) IN GENERAL.—In addition to amounts otherwise available,
                                                                    there is appropriated to the Administrator of the Environmental
                                                                    Protection Agency for fiscal year 2022, out of any money in the
                                                                    Treasury not otherwise appropriated, $37,500,000, to remain avail-
                                                                    able until September 30, 2031, for grants and other activities to
                                                                    monitor and reduce greenhouse gas emissions and other air pollut-
                                                                    ants at schools in low-income and disadvantaged communities under
                                                                    subsections (a) through (c) of section 103 of the Clean Air Act
                                                                    (42 U.S.C. 7403(a)–(c)) and section 105 of that Act (42 U.S.C.
                                                                    7405).
                                                                         (b) TECHNICAL ASSISTANCE.—In addition to amounts otherwise
                                                                    available, there is appropriated to the Administrator of the Environ-
                                                                    mental Protection Agency for fiscal year 2022, out of any money
                                                                    in the Treasury not otherwise appropriated, $12,500,000, to remain
                                                                    available until September 30, 2031, for providing technical assist-
                                                                    ance to schools in low-income and disadvantaged communities under
                                                                    subsections (a) through (c) of section 103 of the Clean Air Act
                                                                    (42 U.S.C. 7403(a)–(c)) and section 105 of that Act (42 U.S.C.
                                                                    7405)—
                                                                              (1) to address environmental issues;
                                                                              (2) to develop school environmental quality plans that
                                                                         include standards for school building, design, construction, and
                                                                         renovation; and
                                                                              (3) to identify and mitigate ongoing air pollution hazards.
                                                                         (c) DEFINITION OF GREENHOUSE GAS.—In this section, the term
                                                                    ‘‘greenhouse gas’’ means the air pollutants carbon dioxide,
                                                                    hydrofluorocarbons, methane, nitrous oxide, perfluorocarbons, and
                                                                    sulfur hexafluoride.
                                                                    SEC. 60107. LOW EMISSIONS ELECTRICITY PROGRAM.
                                                                        The Clean Air Act is amended by inserting after section 134
                                                                    of such Act, as added by section 60103 of this Act, the following:
                                                                    ‘‘SEC. 135. LOW EMISSIONS ELECTRICITY PROGRAM.                                                        42 USC 7435.
                                                                         ‘‘(a) APPROPRIATION.—In addition to amounts otherwise avail-
                                                                    able, there is appropriated to the Administrator for fiscal year
                                                                    2022, out of any money in the Treasury not otherwise appropriated,
                                                                    to remain available until September 30, 2031—
                                                                               ‘‘(1) $17,000,000 for consumer-related education and part-
                                                                         nerships with respect to reductions in greenhouse gas emissions
                                                                         that result from domestic electricity generation and use;
                                                                               ‘‘(2) $17,000,000 for education, technical assistance, and
                                                                         partnerships within low-income and disadvantaged commu-
                                                                         nities with respect to reductions in greenhouse gas emissions
                                                                         that result from domestic electricity generation and use;
                                                                               ‘‘(3) $17,000,000 for industry-related outreach, technical
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                         assistance, and partnerships with respect to reductions in




                                          VerDate Sep 11 2014   15:35 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00253   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                         A027
                                                      USCA Case #24-1120                            Document #2059515                              Filed: 06/12/2024              Page 56 of 56




                                                                    136 STAT. 2070                            PUBLIC LAW 117–169—AUG. 16, 2022

                                                                                                 greenhouse gas emissions that result from domestic electricity
                                                                                                 generation and use;
                                                                                                       ‘‘(4) $17,000,000 for outreach and technical assistance to,
                                                                                                 and partnerships with, State, Tribal, and local governments
                                                                                                 with respect to reductions in greenhouse gas emissions that
                                                                                                 result from domestic electricity generation and use;
                                                                    Assessment.                        ‘‘(5) $1,000,000 to assess, not later than 1 year after the
                                                                    Deadline.                    date of enactment of this section, the reductions in greenhouse
                                                                                                 gas emissions that result from changes in domestic electricity
                                                                                                 generation and use that are anticipated to occur on an annual
                                                                                                 basis through fiscal year 2031; and
                                                                                                       ‘‘(6) $18,000,000 to ensure that reductions in greenhouse
                                                                                                 gas emissions are achieved through use of the existing authori-
                                                                                                 ties of this Act, incorporating the assessment under paragraph
                                                                                                 (5).
                                                                                                 ‘‘(b) ADMINISTRATION OF FUNDS.—Of the amounts made avail-
                                                                                            able under subsection (a), the Administrator shall reserve 2 percent
                                                                                            for the administrative costs necessary to carry out activities pursu-
                                                                                            ant to that subsection.
                                                                                                 ‘‘(c) DEFINITION OF GREENHOUSE GAS.—In this section, the term
                                                                                            ‘greenhouse gas’ means the air pollutants carbon dioxide,
                                                                                            hydrofluorocarbons, methane, nitrous oxide, perfluorocarbons, and
                                                                                            sulfur hexafluoride.’’.
                                                                                            SEC. 60108. FUNDING FOR SECTION 211(O) OF THE CLEAN AIR ACT.
                                                                                                 (a) TEST AND PROTOCOL DEVELOPMENT.—In addition to amounts
                                                                                            otherwise available, there is appropriated to the Administrator
                                                                                            of the Environmental Protection Agency for fiscal year 2022, out
                                                                                            of any money in the Treasury not otherwise appropriated,
                                                                                            $5,000,000, to remain available until September 30, 2031, to carry
                                                                                            out section 211(o) of the Clean Air Act (42 U.S.C. 7545(o)) with
                                                                                            respect to—
                                                                                                      (1) the development and establishment of tests and proto-
                                                                                                 cols regarding the environmental and public health effects of
                                                                                                 a fuel or fuel additive;
                                                                                                      (2) internal and extramural data collection and analyses
                                                                                                 to regularly update applicable regulations, guidance, and proce-
                                                                                                 dures for determining lifecycle greenhouse gas emissions of
                                                                                                 a fuel; and
                                                                                                      (3) the review, analysis, and evaluation of the impacts
                                                                                                 of all transportation fuels, including fuel lifecycle implications,
                                                                                                 on the general public and on low-income and disadvantaged
                                                                                                 communities.
                                                                                                 (b) INVESTMENTS IN ADVANCED BIOFUELS.—In addition to
                                                                                            amounts otherwise available, there is appropriated to the Adminis-
                                                                                            trator of the Environmental Protection Agency for fiscal year 2022,
                                                                                            out of any money in the Treasury not otherwise appropriated,
                                                                                            $10,000,000, to remain available until September 30, 2031, for
                                                                                            new grants to industry and other related activities under section
                                                                                            211(o) of the Clean Air Act (42 U.S.C. 7545(o)) to support invest-
                                                                                            ments in advanced biofuels.
                                                                                                 (c) DEFINITION OF GREENHOUSE GAS.—In this section, the term
                                                                                            ‘‘greenhouse gas’’ means the air pollutants carbon dioxide,
                                                                                            hydrofluorocarbons, methane, nitrous oxide, perfluorocarbons, and
jmbennett on LAP3P8D0R2PROD with Publaw




                                                                                            sulfur hexafluoride.




                                          VerDate Sep 11 2014   15:35 Oct 25, 2022   Jkt 029139   PO 00169   Frm 00254   Fmt 6580   Sfmt 6581   E:\PUBLAW\PUBL169.117   PUBL169
                                                                                                                                                                                        A028
